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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE


ACUITY BRANDS LIGHTING, INC.,             Civil Action No. 1:19-cv-2207-MN

      Plaintiff/Counterclaim Defendant,   JURY TRIAL DEMANDED

vs.

ULTRAVISION TECHNOLOGIES, LLC,

      Defendant/Counterclaim Plaintiff.




                       JOINT CLAIM CONSTRUCTION BRIEF
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I.        INTRODUCTIONS

          A.      Ultravision’s Opening Introduction

          Pursuant to this Court’s Scheduling Order, Ultravision Technologies, LLC (“Ultravision”)

hereby submits its Opening Claim Construction Brief regarding the asserted claims of U.S. Patent

Nos. 8,870,410;1 8,870,413; 9,734,738; 9,947,248; and 10,223,946 (collectively, “Patents-in-

Suit"). The Patents-in-Suit are attached as Exs. 1-5, respectively.

          Five of the ten term groups at issue here have already been construed once in Ultravision

Technologies, LLC v. Holophane Europe Limited, et al., Case No. 2:19-cv-00291-JRG-RSP, Dkt.

111 (E.D. Tex., Oct. 2020) (the “Texas Action”), aff’d sub nom id. at Dkt. 111. Ex. 6. Acuity

repeats several arguments that the Court rejected in the Texas Action, including both of its

indefiniteness positions which the Court addressed at length. See Ex. 6 at 15-21 (rejecting

Defendants’ arguments that uniformity terms are indefinite); id. at 37-41 (rejecting Defendants’

arguments that [optics panel is configured to be attached to] a heat sink comprising a power supply

enclosure disposed on the heat sink” is indefinite). Acuity’s new constructions for the remaining

terms improperly seek to import limitations from the specification into the claims contrary to

established case law.

          Ultravision filed the provisional patent application leading to the Patents-in-Suit on July

30, 2012. All of the Patents-in-Suit are based on the same specification which thus far has resulted

in at least 24 issued patents.

          The Patents-in-Suit describe an LED lighting apparatus that has several advantages over

the prior art. In describing problems in the prior art, one problem “is that it can be difficult to

direct light only onto the surface [] and even more difficult to do so evenly.” Ex. 1 at 2:49-51.


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    Unless otherwise noted, all citations will be to the ’410 patent.
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“One problem with uneven illumination is that certain parts of the surface [] may be more brightly

illuminated than other parts. This creates ‘hot spots’ that may be undesirable.” Id. at 2:55-58.

The Patents-in-Suit also recognize additional challenges regarding heat dissipation and protecting

the LEDs from environmental conditions such as moisture. Id. at 2:67-3:1.

       To solve these problems, the Patents-in-Suit

disclose an exemplary lighting assembly illustratively

shown in Figure 6A. Structurally, the embodiment shown

in FIG. 6A shows a lighting assembly 600 that includes a

back panel 602, to which is attached to multiple LED

assemblies and an optics panel formed by multiple lens

panels 604. Id. at 6:53-64. In discussing the lens panel

more specifically, the Patents-in-Suit disclose an

exemplary lens panel that may include multiple optical elements in Figure 5A.



                                           Figure 5A discloses an exemplary lens panel 500 that

                                           includes multiple optical elements 514.       A single

                                           optical element 514 may be provided for each LED, or

                                           multiple LEDs, or multiple optical elements may be

used over a single LED. Id. at 4:64-5:3.

       The optical elements 514 are configured to provide several functional advantages of the

projected light. The light from each LED is projected onto the entire surface of the desired target

area (which, as described in an embodiment in the specification, is a billboard). Id. at 5:4-9.




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Therefore, when a single LED fails, the overall illumination decreases ever so slightly, but the

uniformity of that illumination remains unchanged. Id. at 5:19-21.

       B.      Acuity’s Answering Introduction

       The Patents-in-Suit are directed to assemblies and products for illuminating signage. ’410

Patent, 1:12-14 (“The following disclosure relates to lighting systems . . . using [LEDs] to

externally illuminate signs.”) and 2:6-9 (“Although billboards are used herein for purposes of

example, it is understood that the present disclosure may be applied to lighting for any type of sign

that is externally illuminated.”). Yet, with a few exceptions, Ultravision argues for the broad or

non-constructions that are necessary for it to pursue infringement against a wide variety of outdoor

lighting products designed to illuminate sidewalks, parking lots and streets, rather than signage.

Ultravision’s arguments will be shown to be wholly-divorced from the intrinsic record and in many

instances, the claim language itself.

       It is telling that Ultravision’s arguments are contradicted by its own arguments in

Ultravision Technologies, LLC v. Lamar Advertising Co., et al., C.A. No. 2:16-cv-374 (E.D. Tex.)

(“Lamar case”), which involved patents that share a common specification with the Patents-in-

Suit, including the ’410 and ’413 Patents asserted against Acuity. In the Lamar case, Ultravision

argued that the patented technology was unquestionably limited to LED lighting for billboards:

       The Patents-in-Suit relate to LED lighting assemblies for billboards…. Generally
       speaking, the asserted claims speak to the illumination of billboards with LED
       lighting assemblies. The asserted claims relate to the LED lighting assemblies used
       to light the billboards as well as the optical elements (i.e., lenses) used in the LED
       lighting assemblies to create uniform illumination of the billboard surface.

       The patented technology provides a number of benefits—both in the quality and
       economics of billboard lighting. [. . .] Ultravision’s designs use novel optical
       elements (lenses) to direct the light emitted from LEDs to light the billboard, as
       opposed to using reflective mirrors or other ways of aiming light. Ultravision’s
       LED billboard lights uniformly distribute light from a number of LEDs onto the
       flat surface of a billboard to minimize “hot spots” or “dark spots,” which are areas
       of a billboard that are brighter or darker, respectively, than other areas of the same

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       billboard in low light conditions and at night. Both “hot spots” and “dark spots”
       limit the very purpose of billboard advertising—visibility and legibility of the
       advertising content, both written and visual. Ultravision’s LED billboard lights also
       reduce light spillage beyond edges of the billboard, which not only conserves
       energy but also limits irritating or environmentally undesirable light pollution.
       Finally, Ultravision’s LED billboard lights overcame the life shortening problem
       of dissipating the substantial heat generated by the LEDs.

       Ex. B, Lamar Op. Br. at 1-2. Here, Ultravision attempts to walk away from its prior

arguments and the intrinsic record because Ultravision is not accusing signage lighting.

Ultravision’s arguments, which would have the Court view the disputed terms in isolation or

divorced from the relevant intrinsic record, should be rejected in favor of constructions that

reflect how a skilled artisan would understand the terms in view of the claims and the applicant’s

explanation of the allegedly novel invention.

II.    LEVEL OF SKILL IN THE ART

       A.      Ultravision’s Level of Skill In the Art

       Ultravision proposes that the person of ordinary skill in the art would have a Bachelor of

Science degree in electrical engineering, physics, optics, or its equivalent, with approximately two

years of design experience in the field of LED lighting. Additional education would compensate

for less experience, and vice-versa. Ex. 8, Dr. Coleman Decl., ¶ 22.

       B.      Acuity’s Level of Skill In the Art

       A skilled artisan would have had at least a bachelor’s degree in physics, engineering, or a

related technical field, and at least 3-4 years of experience in the field of light emitting diode (LED)

devices, or an equivalent advanced education in the field of LED devices. Ultravision’s contention

is similar, but with less years of design experience. Acuity contends that the difference in years

of experience should not alter the Court’s analysis.




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III.   AGREED-UPON CONSTRUCTIONS

                   Claim Term                              Joint Proposed Construction

 “acrylic material” /                                “material containing primarily acrylates” /
 “acrylic material substrate”                        “substrate containing primarily acrylates”

 (’410 Patent, claim 15; ’413 Patent, claims 4,
 10, 12)
 Preambles                                          The preambles are limiting.
 “An optics panel for use in a light emitting diode
 (LED) lighting assembly comprising” /
 “An optics panel for use in a light emitting diode
 (LED) lighting assembly for illuminating a
 billboard that has a display surface extending
 between outer edges of the billboard, the optics
 panel comprising”

 (’410 Patent, claims 1, 10, 15; ’413 Patent,
 claims 1, 5, 11)
 “substantially transparent”                         “transparent”

 (’410 Patent, claim 1; ’413 Patent, claims 5, 11)
 “predetermined bounded area”                        “area determined by the dimensions of
                                                     the [display surface]”
 (’410 Patent, claim 1)


                                                     The parties agree that the Court’s
                                                     construction of “display surface” shall be
                                                     applied to this construction.

 “substantially the entire display surface”          Plain and ordinary meaning, where the
 (’410 Patent, claim 1, 15)                          plain and ordinary meaning is “the entire
                                                     display surface”



IV.    CLAIM CONSTRUCTION OF THE DISPUTED TERMS

       A.      Term 1: Uniformity Limitations

         Term                     Ultravision’s Proposal               Acuity’s Proposal
 Uniformity Limitations:   “level of illumination that does     Indefinite
                           not create noticeable
 “substantially uniform” / unevenness in the overall


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            Term                   Ultravision’s Proposal              Acuity’s Proposal
  “substantially equal        illumination, such as hot spots
 level of illumination” /     or dead spots”

 “a uniformity . . .
 remains substantially
 unchanged” /

 “the uniformity of light .
 . . remains substantially
 the same.” /

 “a uniformity of light . .
 . remains substantially
 the same.”

 “a uniformity of light . .
 . remains substantially
 unchanged.”


               1.        Ultravision’s Opening Position

       These terms were construed in the Texas Action to mean “level of illumination that does

not create noticeable unevenness in the overall illumination, such as hot spots or dead spots.” Ex.

6, 20. Ultravision proposes that the court in the Texas Action arrived at the proper construction.

This construction requires that, to fall outside the scope of the claims, the unevenness to be

“noticeable,” and the person of ordinary skill in the art would understand in the context of this

technology what is noticeable to an observer. See Ex. 1 at 6:12-30. Acuity’s indefiniteness

argument should be rejected here as it was in the Texas Action.

       When considering the indefiniteness of a particular claim, the disputed term must be

considered in the context of the overall claim as a whole and not in a vacuum. For example,

Ultravision used the term “substantially uniform” in independent claim 10 (Id. at 9:5-17) of the

’410 Patent, reciting:

               An optics panel for use in a light emitting diode (LED) lighting
               assembly for illuminating a billboard that has a display surface

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               extending between outer edges of the billboard, the optics panel
               comprising:
               a plurality of LEDs directed toward the display surface; and
               a plurality of lenses, wherein each lens is disposed over only one
               associated LED and is configured to direct light from that LED
               toward the display surface, such that the light from each lens is
               directed across the entire display surface of the billboard, wherein
               the light intensity from each lens is substantially uniform across
               the entire display surface.

       The context of the claim as a whole provides reasonable certainty to one of ordinary skill

in the art about the scope of the invention because it describes in detail the structure used to reach

the desired objective of “substantially uniform” light intensity across a display surface of a

billboard. Specifically, the “wherein” clause in which the term “substantially uniform” is used

speaks directly to the “light intensity” being described, the origin of the “light intensity” (i.e.,

“from each lens”), as well as the target and location across which “the light intensity” is being

directed (i.e., “the entire display surface” of a billboard). Thus, the language preceding and

following the term “substantially uniform” provides important context for how the term is used in

the claim.

       The specification further informs those skilled in the art about the scope of the invention.

First, the specification explains how a person of ordinary skill in the art recognizes when the

illumination is not uniform. The specification explains that prior art lighting technology made it

difficult to direct light uniformly. Id. at 2:49–55. The specification explains that this uneven

illumination creates “hot spots” (i.e., bright spots) that are undesirable:

               One problem with uneven illumination is that certain parts of the
               surface 102 may be more brightly illuminated than other parts. This
               creates “hot spots” that may be undesirable. Attempting to evenly
               illuminate the surface 102 may cause light to be directed past the
               edges 112, 114, 116, and 118 as attempts are made to balance out
               hot spots in particular areas.



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Id. at 2:55–61 (emphasis added). The specification further contrasts these “hot spots” with “dead

spots” (i.e., dark spots) on the billboard surface: “[t]he minimum distance is designed such that

overlapping light from adjacent LEDs does not create interference patterns and result in dead spots

on the surface.” Id. at 5:33–35.

       Second, the specification explains how the LED light assembly uniformly illuminates a

billboard to avoid these hot spots and dead spots. The specification describes properly directing

the illumination to “minimiz[e] any noticeable unevenness in the overall illumination, even if one

of the remaining LEDs 416 malfunctions” to realize the benefit of overlapping and redundant

coverage on the billboard. Id. at 6:21–23. And the specification describes and illustrates multiple

embodiments of optical elements that are specifically designed to create the “substantially

uniform” light intensity on the billboard surface. See, e.g., id. at 5:37–38 (“the lens structure is

designed to ‘direct’ the light from an edge of the surface to cover the entire surface”); Figures 5A–

5D and 8D–8J. The specification further explains that light from the LEDs is directed by these

optical elements “so that each LED illuminates substantially the entire surface with a substantially

equal level of illumination per LED.” Id. at 1:27–29 (emphasis added). Taken together, these

portions of the specification inform a person of ordinary skill in the art about the scope of the

invention with reasonable certainty.

       Therefore, the claims including the term “substantially uniform” are not indefinite because

when “viewed in light of the specification and prosecution history, [the claim(s)] inform[(s)] those

skilled in the art about the scope of the invention with reasonable certainty.” Nautilus, Inc. v. Biosig

Instruments, Inc., 572 U.S. 898, 910, (2014). The Texas Court agreed, reasoning:

               Here, the disputed terms are terms of degree. “Claim language
               employing terms of degree has long been found definite where it
               provided enough certainty to one of skill in the art when read in the
               context of the invention.” Interval Licensing, 766 F.3d at 1370

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                (citing Eibel Process Co. v. Minn. & Ont. Paper Co., 261 U.S. 45,
                65–66 (1923))… Like the disputed term “visually negligible” in
                Sonix Tech. Co. v. Publ’ns Int’l, Ltd., 844 F.3d 1370, 1378 (Fed. Cir.
                2017), the Uniformity Terms involve what can be seen by the
                normal human eye. This provides an objective baseline through
                which to interpret the claims. It does not turn on a person’s taste or
                opinion, and is not purely subjective. Id.

Ex. 6 at 18. Accordingly, Ultravision’s proposed construction is proper, and the Uniformity terms

are not indefinite.

        Extrinsic evidence also supports Ultravision’s

position that this term is not indefinite. For example,

IES Publication RP-33-99, Lighting for Exterior

Environments (1999), Ex. 12, describes that “[i]t is

often necessary to illuminate large vertical displays

uniformly” and that “the lighting should provide even

illumination over the entire surface.” Id. at p. 34. It advises that one should “[c]arefully select

floodlight luminaires which will not create ‘hot spots’ on the display.” Id. And it even provides

an example of the front façade of the Cleveland Art Museum as “an example of good vertical

surface illumination that is uniform over the entire façade.” Id. at 35. The extrinsic evidence shows

that there is commonly understood criteria in the art for determining the uniformity of the light

intensity for LED lighting in the context of noticeable unevenness, such as hot spots or dead spots

on the surface that is being illuminated. Ex. 7, Coleman Decl., ¶ 39. Therefore, this term is not

indefinite.

                2.     Acuity’s Answering Position

        These disputed phrases include the term of degree “substantially” that, when read in light

of the intrinsic record, renders the phrases indefinite because it “fail[s] to inform, with reasonable

certainty, those skilled in the art about the scope of the invention.” Nautilus, Inc. v. Biosig

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Instruments, Inc., 134 S. Ct. 2120, 2124 (2014); see also 35 U.S.C. § 112. The focus of the

indefinite analysis is whether the common specification offers “objective boundaries” for the term

substantially, yielding a “standard for measuring the scope of the phrase[s]” based on which a

skilled artisan can determine with reasonable certainty when illumination is sufficiently uniform

to qualify as substantially uniform, as claimed. Interval Licensing LLC v. AOL, Inc., 766 F.3d

1364, 1370-71 (Fed. Cir. 2014); see also Datamize, LLC v. Plumtree Software, Inc., 417 F.3d 1342,

1350 (Fed. Cir. 2005), abrogated on other grounds by Nautilus, Inc. v. Biosig Instruments, Inc.,

572 U.S. 898, 901, 134 S. Ct. 2120, 2124, 189 L. Ed. 2d 37 (2014) (a patent “must provide

objective boundaries for those of skill in the art.”). The specification does not contain any such

objective boundary or standard of measurement.

       It is undisputed that “substantially” uniform is different and broader than “uniform.” (Ex.

A, Coleman Depo. at 33:2-9 (testifying that substantially uniform is broader). But it is unclear

what level of uniformity is necessary for illumination to be considered substantially uniform or of

a substantially equal level. While Ultravision argues that the specification explains how:

   •   “a person of ordinary skill in the art recognizes when the illumination is not
       uniform” (Op. Br. at 7-8 (“uneven illumination creates “hot spots” (i.e., bright
       spots) that are undesirable”)); and

   •   “the LED light assembly uniformly illuminates a billboard to avoid these hot spots
       or dead spots” (id.),

Ultravision tellingly fails to identify what degree of “uniformity” is necessary to achieve

substantial uniformity. That is fatal because “terms of degree” such as “substantially” should be

found indefinite, if the patent, read in view of the prosecution history, does not “provide ‘some

standard’ for measuring that degree such that the claim language ‘provide[s] enough certainty to

one of skill in the art when read in the context of the invention[.]’” GE Lighting Sols., LLC v.

Lights of Am., Inc., 663 Fed. App’x 938, 940–41 (Fed. Cir. 2016) (citations omitted) (holding the


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term “elongated” indefinite); see also Interval Licensing LLC., 766 F.3d at 1371. Subjective

boundaries are not sufficient; the patent must provide “objective boundaries” so one can determine

the scope of the claims and whether they are infringing. Id. at 940.

         Here, there are no such “objective boundaries;” the specification does not provide any

consistent and objective guidance according to which a skilled artisan would understand the degree

of uniformity at which the light intensity across an illuminated surface is “substantially uniform.”

Instead, the intrinsic record only includes conflicting and subjective discussion of the prior art

problem of hot spots, an aspiration goal of minimizing noticeable unevenness, and a 3:1 ratio of

average-to-minimum illumination that can be helpful in assessing the presence of dark spots.

         Ultravision sidesteps the issue created by the lack of objective boundaries by creating and

then resolving a different strawman issue -- whether “a person of ordinary skill in the art recognizes

when illumination is not uniform.” See Op. Br. at 7-8.2 Whether illumination is “uniform” is not

the issue. The claims do not require uniform illumination; instead, they require something less

and the question is whether illumination is sufficiently uniform to be considered substantially

uniform / of an equal level. While the complete absence of “unevenness” might reflect uniformity,

Ultravision’s proposed reference to noticeable unevenness, such as hotspots and dead spots, does

not provide an objective lower boundary for assessing substantial uniformity.

         Ultravision’s construction also is misplaced because it replaces indefinite phrases

substantial [uniformity / equal level] with equally indefinite phrases, i.e., “noticeable



2
    Ultravision also relies on extrinsic evidence that discusses uniformity, not substantial uniformity,
    and in most instances post-dates the priority date by 6-8 years. See Op. Br. at 9 (citing IES RP-
    33-99) (describing uniformly illuminated vertical displays); Op. Br. at 9 (citing Coleman Decl.,
    ¶ 39) (“extrinsic evidence shows there is commonly understood criteria in the art for
    uniformity”). Coleman Decl. ¶¶ 36-38 (citing 2017 & 2019 marketing material that does not
    reference substantial uniformity, and that Coleman testified a skilled artisan would not have
    reviewed (Coleman Depo. at 47:19 – 48:19 (Mongoose material), 53:5-16 (RSX material)).
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unevenness . . . such as hot spots or dead spots.” “Noticeable unevenness”, “hot spots” (brighter

than average illumination) and “dead spots” (darker than average illumination) are subjective and

do not objectively define the contours of substantially uniform / equal illumination.

       In fact, the specification does not use any of these terms to define an objective boundary

for substantially uniform or equal illumination. The specification only discusses “hot spots” in the

context of a prior art problem that is supposedly overcome by the claimed invention. ’410 Patent

at 2:55-61. Similarly, the specification only refers to “dead spots” once, and it describes them as

being capable of being avoided by an undefined minimum distance between lenses. Id. at 5:33-

35. Likewise, the specification uses only once the phrase “noticeable unevenness” and does so

when discussing a characteristic that should be minimized. Id. at 6:18-23. An assessment of what

is noticeable is indefinite because it is “purely subjective” and “depends on the unpredictable

vagaries of any one person’s opinion.” Intellectual Ventures I LLC v. T-Mobile USA, Inc., et al,

902 F.3d 1372, 1381 (Fed. Cir. 2018).

       These subjective terms are similar to those at issue in Interval Licensing, in which the

Federal Circuit held that “unobtrusive manner” was indefinite. Interval, 766 F.3d at 1371-74. Like

the Patents-in-Suit, the patent specification in Interval Licensing was equally subjective,

explaining that displaying content in an unobtrusive manner meant that it “does not distract a user

of the apparatus from a primary interaction with the apparatus.” Id. at 1372.           The patent

specification, here, similarly does not describe or provide any measuring standard against which a

skilled artisan can judge how bright is too bright (hot spots), how dark is too dark (dead spots) or

the variables to be considered in assessing whether unevenness is noticeable (e.g., viewed by

whom, at what distance, in what background lighting conditions, etc.). These characteristics of




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illumination are not defined by the intrinsic record and, therefore, do not provide a skilled artisan

with objective boundaries for determining the scope of these claim limitations.

         These problems with Ultravision’s proposed construction were confirmed during the

deposition of its claim construction expert.      During that deposition, Dr. Coleman testified

regarding the concept of an “ordinary observer” -- a hypothetical person that a skilled artisan would

consider in her analysis of whether illumination is substantially uniform. (Ex. A, Coleman Depo.

at 60:6 and 66:24; see also, Ex. 7, Coleman Decl. at ¶ 33).3 According to Dr. Coleman, assessing

substantial uniformity is a “visual assessment” and that assessment, presumably made by an

ordinary observer, can be impacted by physical and environmental variables, such as the observer’s

quality of eyesight, the distance from the illuminated surface, and the level of background

illumination. (Ex. A, Coleman Depo. at 61:21-23 (no age range identified), 62:9-12 (no quality of

vision identified and does not necessarily need to be 20/20), 63:7-16 (quality of vision necessary

would depend on level of unevenness), 65:2-6 (level of permissible background light could vary),

and 65:7-25 (patent does not prescribe distance at which uniformity assessment should take place

and distance impacts whether unevenness is noticeable). In Dr. Coleman’s own words, “the patent

does not define the requirements for the noticeable unevenness.” (Id. at 63:7-8). There cannot be

a reasonable dispute as to whether assessing the level of uniformity depends on the physical

characteristics of an undefined person and environmental factors that introduce subjectivity into

the assessment. It does, thus rendering the uniformity terms indefinite. See, e.g., University of

Massachusetts Medical School et al v. L'Oreal SA, No. 1:17-cv-00868, D.I. 410 at 13 (Del. Apr.

20, 2021) (Judge Connolly) (claims lacking the objective boundaries are indefinite where



3
    Dr. Coleman may have borrowed the concept of an ordinary observer from the law of design
    patents, but neither Ultravision nor Dr. Coleman identify any support for using that concept to
    assess the definiteness of a claim term.
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“[a]rtisans of ordinary skill seeking to avoid infringement of the asserted claims would have to

guess about the opinions” of undefined persons; determining a “noticeable decrease” construction

identified in the specification for the term “skin enhancement” was also indefinite); Datamize, 417

F. 3d at 1352-53 (“the definition of 'aesthetically pleasing' cannot depend on an undefined

standard .... [Nor] depend on the defined views of unnamed persons, even if they are experts, . . .”).

         To further complicate this issue, the patent specification introduces uncertainty with

respect to its discussion of a “3:1 ratio of the average illumination to the minimum [illumination].”

See ’410 at 5:14-164 and 5:36. While neither Ultravision nor its expert address the specification’s

discussion of the 3:1 ratio in the context of the uniformity terms, it is worth noting that this ratio

is inconsistent with Ultravision’s proposed construction. As Dr. Josefowicz (ABL’s expert)

explains, and Dr. Coleman (Ultravision’s expert) concedes, a ratio of the average illumination to

the minimum illumination can be used to assess the presence of darker spots, but not the absence

of hot spots. Ex. C, Josefowicz Decl., ¶¶ 34-40; Ex. A, Coleman Depo. at 83:9-19 (testifying that

a skilled artisan would not use the 3:1 ratio to determine the presence of a hot spot because that

ratio is indicative of dark spots, rather than bright or hot spots). This is because a small, but bright

hot spot could have a minimal impact on the average level of illumination and, therefore, its

presence cannot be ruled out by comparing the average illumination to the minimum level of

illumination. Id., ¶ 39. In that situation, the illumination would include a noticeable hot spot, yet

it would still meet the 3:1 average to minimum illumination ratio. In fact, the Lighting Handbook

identified and relied on by Dr. Coleman (Ex. 7, Coleman Decl., ¶ 83) proposes using an

illuminance ratio of 3:1 to highlight features in the foreground and draw the viewer’s attention

away from the darker background, i.e., to create a brighter spot on the featured image. See Ex. C,



4
    Dependent claims 4-5 of the ’410 patent also specify a “3:1” average to minimum illumination.
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Josefowicz Decl., ¶ 36; Ex. J, IES 10th at 12.7. This contradictory treatment of hot spots in the

intrinsic evidence would further exacerbate the problem a skilled artisan would have in

determining an object standard for assessing substantial uniformity with sufficient reasonable

certainty. See, e.g., Teva Pharms. USA, Inc. v. Sandoz, Inc., 789 F.3d 1335 at 1345 (Fed. Cir.

2015); see also, e.g., Nautilus, 572 U.S. 898, 911(“[W]e hold that a patent is invalid for

indefiniteness if its claims, read in light of the specification delineating the patent, and the

prosecution history, fail to inform, with reasonable certainty, those skilled in the art about the scope

of the invention.”).

        Finally, Ultravision’s inclusion of the phrase “level of illumination” in its construction

creates further uncertainty. The claim limitations require substantial uniformity of illumination,

regardless of the level of illumination. Ultravision’s proposal, which makes the uniformity

dependent on the level of illumination, i.e., level . . . that does not create noticeable unevenness . .

.” is not supported by the specification; is inconsistent with the claims; and adds yet another

undefined variable that yields an indefinite claim scope.

                3.      Ultravision’s Reply Position

        Acuity has adopted an unreasonably narrow definition of the term “uniform” that its expert

admits is unachievable in the real world. Ex. 24 at 31:6-11 (“Q:[S]o in order for a surface to be

uniformly illuminated every single millimeter of that surface would need to have a precisely

identical illumination, is that correct? A: That’s right.”); id. at 103:9-13 (“Q: Have you ever seen

that level of uniformity provided by a single LED luminaire? . . . A: I have not seen it.”). Acuity

relies on this impossible standard to argue that anything besides perfect uniformity must be defined

numerically to avoid indefiniteness. See Ex. 24 at 74:4-75:18 (“if you state uniform[,] to

understand uniform you would need to see the photometrics for luminaire and the illuminance data

for a surface that’s being irradiated.”). To the contrary, a POSITA would be reasonably certain
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that “substantially uniform” illumination, as discussed in the Asserted Patents, refers to a “level of

illumination that does not create noticeable unevenness in the overall illumination, such as hot

spots or dark spots.” See Brief at 6-9.

       Acuity is also incorrect that the term “substantially” renders these terms indefinite merely

because it is a term of degree. See Ortho-McNeil Pharm., Inc. v. Caraco Pharm. Labs., Ltd., 476

F.3d 1321, 1326 (Fed. Cir. 2007) (holding that words like “approximate” and “about” may

appropriately be used to “avoid[ ] a strict numerical boundary to the specified parameter.”); see

also Max Blu Techs., LLC v. Cinedigm Corp., 2:15-CV-1369-JRG, 2016 WL 3688801, at *30

(E.D. Tex. July 12, 2016). Acuity relies on GE Lighting to argue that the intrinsic record must

“provide some standard for measuring that degree,” but there is no requirement that the standard

be numerical. GE Lighting Sols., LLC v. Lights of Am., Inc., 663 Fed. App’x 938, 940–41 (Fed.

Cir. 2016) (“[A] patentee need not define his invention with mathematical precision”)

(citing Invitrogen Corp. v. Biocrest Mfg., L.P., 424 F.3d 1374, 1384 (Fed. Cir. 2005)). Contrary to

Acuity’s position, when a word of approximation is used, the term will not be indefinite if the

intrinsic record renders the term reasonably certain. Id. Here, the specification provides that

context in discussing uniformity that it results from configuring the optical elements so that light

emitted from each LED is projected on the entire surface of the billboard which results in the

absence of hot spots and dead spots in uniform illumination. Ex. 1 at 2:55-61, 5:33-35.

       Acuity is also incorrect that the visibility of hot spots or dead spots is a “subjective”

standard. Acuity’s argument boils down to the assertion that a level of “noticeable” unevenness

could differ based on observers or conditions. But, as the Texas Court noted, “the Uniformity terms

involve what can be seen by the normal human eye. This provides an objective baseline through

which to interpret the claims. It does not turn on a person’s taste or opinion, and is not purely



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subjective.” Ex. 6 at 18. Dr. Coleman’s opinions regarding substantial uniformity visible to an

“ordinary observer” apply the same objective standard, i.e., what is visible to a normal human eye.

Ex. 7, ¶ 33. The existence of variables like ambient light do not somehow render what is visible to

a normal human eye subjective, nor would they alter a POSITA’s reasonable certainty over what

is noticeable to a normal human eye.

         Acuity argues that this term is indefinite because illumination with a 3:1 ratio can have

dark spots or bright spots. But Acuity mistakenly assumes that “uniformity” requires a “3:1 ratio

of the average to the minimum [illumination],” even though the 3:1 ratio is an additional limitation

in dependent claims. See, e.g., Ex. 1, claim 5 (“wherein the uniformity ratio is 3:1”); see also

claims 14, 21. Acuity argues from the false premise that uniform illumination must satisfy both

limitations in order to be uniform. Acuity is incorrect as a matter of claim construction because

the claims themselves distinguish between requirements for uniformity and illumination ratios.

See, e.g., Phillips v. AWH Corp., 415 F.3d 1303, 1314 (Fed. Cir. 2005) (explaining that use of

“steel baffles” and “baffles” implied that “baffles” did not inherently refer to objects made of steel).

         Accordingly, a POSITA would be reasonably certain that the uniformity terms mean a

“level of illumination that does not create noticeable unevenness in the overall illumination, such

as hot spots or dead spots.”

                4.      Acuity’s Sur-Reply Position

         Ultravision’s Reply merely repackages the strawman arguments raised in its Opening

Brief.

         Substantial uniformity is something less than uniform and has two boundaries: (1) an upper

boundary (between uniform and substantially uniform) and (2) a lower boundary (between

substantially uniform and too non-uniform to be characterized as substantially uniform). Both

boundaries must be objective or subject to a standard of measure provided by the intrinsic record.
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Here, Acuity contends that the second, lower boundary is not objective and the intrinsic record

does not provide a standard of measure from which a skilled artisan can assess the boundary with

reasonable certainty. Ultravision’s Reply does not identify an objective boundary or standard for

measuring the lower boundary. Instead, Ultravision’s arguments focus on the upper boundary,

and then Ultravision tries to justify its indefinite construction.

        First, the parties agree that uniform and substantially uniform are different and substantially

uniform encompasses some amount of non-uniformity. Ex. A, Coleman Depo. at 33:2-9. Thus,

whether it is complicated to design a luminaire to provide uniform illumination is not relevant to

this claim construction dispute. Substantial uniformity starts with a non-uniformity, regardless

how hard it may be to achieve uniformity and, therefore, the question at hand is: where does

substantial uniformity end? The intrinsic record does not answer that question with reasonable

certainty. The patent does not provide any objective boundary against which to measure the

second, lower boundary of substantial uniformity and that is the source of its indefiniteness. Both

experts’ testimony confirms that uncertainty and that an assessment of substantial uniformity

depends on environmental conditions and the eye of the beholder. See Response at 13-14 (citing

Coleman testimony) and Ex. C, Josefowicz Decl. at ¶¶ 28, 42-43.

        Rather than attack this flaw head-on, Ultravision mischaracterizes Acuity’s argument.

Acuity does not contend that the term substantially is indefinite “merely because it is a term of

degree” or “the standard be numerical”, as Ultravision argues in its Reply at 16. Instead, a term

of degree is indefinite if the intrinsic record does not identify an objective boundary or standard

for measuring the boundary. Response at [3]. Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364,

1371 (Fed. Cir. 2014) (“The claims, when read in light of the specification and the prosecution

history, must provide objective boundaries for those of skill in the art.”). The nature of that



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boundary or standard of measure, obviously, is dictated by the particular term of degree. Here, the

specification does not provide any objective boundary or measuring stick to assess whether a non-

uniformity is sufficiently uniform to be characterized as substantially uniform.

       Ultravision next mischaracterizes the case law to justify or excuse the absence of an

objective criteria in the specification. First, Ultravision cites Ortho-McNeil Pharm., Inc. v. Caraco

Pharm. Labs., Ltd. for the proposition that terms like “about” may be used to avoid strict numerical

boundaries to the specified parameter. Rep. Br. at 16 (citing 476 F.3d 1321, 1326 (Fed. Cir. 2007)).

Ortho is easily distinguishable because, unlike here, the “about” term modified a numerical value

in the claim (i.e., “about 1.5”). Ortho at 1326. Moreover, the Federal Circuit still required intrinsic

and extrinsic support for what the range might actually be. Id.

       Ultravision also cites GE Lighting Sols., LLC v. Lights of Am., Inc., for the proposition that

the intrinsic record doesn’t require a numerical value. Rep. Br. at 16. Again, Acuity does not

contend that the objective boundary must be a numerical value — it just needs to be objective. See

Exmark Mfg. Co. Inc. v. Briggs & Stratton Power Products Grp., LLC, 879 F.3d 1332, 1346 (Fed.

Cir. 2018) (in GE Lighting Solutions “nothing in the patent at issue provided any objective

boundaries for the term ‘elongated’ which is why it was indefinite.”).

       Ultravision’s next argument makes a failed attempt to create certainty around its proposed

construction, which is comprised of plainly indefinite terms (e.g., “noticeable unevenness”, “hot

spots” and “dead spots”).5 Acuity’s Response at 13-14 details why those terms are subjective and

that subjectivity is reinforced by the fact that illumination is assessed with the “normal human eye”



5
  Notably, the EDTX Court provided inconsistent characterizations of whether these terms in
Ultravision’s construction are objective. It characterized them as “not purely subjective”
suggesting that an assessment is objective, unless it is a purely subjective assessment. See Ex.6
Holophane Markman Order at 18. But that is an incorrect statement -- a partial subjective
assessment cannot be objective.
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according to Ultravision. Here, the experts agree that subjective criteria and environmental

conditions would impact the visual assessment of uniformity, thereby, leaving uncertainty as to

whether the claim limitations are met. For example, a billboard luminaire’s illumination pattern

may appear to be devoid of dead spots when viewed at dusk, but not at midnight. Likewise, the

illumination pattern may appear to be devoid of dead spots when viewed in an urban environment,

but not a rural environment. Given Ultravision’s contention that the assessment is a visual one,

the scope of a claim limitation that is satisfied under some environmental conditions, but not

others, is not reasonably certain, particularly when those conditions are not claimed.

         Finally, Ultravision’s argument about the 3:1 ratio is non-sequitur. Acuity references this

ratio once in its Response (p. 14) and does so to explain the inconsistency between the patent’s

discussion of the 3:1 ratio and UV’s proposed construction. To reiterate, the specification

describes even illumination in terms that would allow for hot spots. See ’410 Patent at 2:55-58;

5:14-16. In other words, evenness is explained in the intrinsic record (i.e., a 3:1 ratio) to permit

hotspots. This is inconsistent with the understandings of evenness and uniformity expressed by

Ultravision and its expert6 and confirms that a skilled artisan would not jump to the conclusion

that substantially uniform (i.e., less than uniform) can be assessed by the absence of hot spots. Put

simply, Ultravision’s proposed construction is both indefinite and contrary to the specification.

         B.      Term 2: “[each of the plurality of optical elements comprises] a first lens
                 element and a second lens element disposed over the first lens element”

             Term                 Ultravision’s Proposal                Acuity’s Proposal
    “[each of the plurality   Plain and ordinary meaning,        “[each of the plurality of optical
    of optical elements       where the plain and ordinary       elements comprises] a lens with
    comprises] a first lens   meaning is “a second lens          two optical surfaces placed or
    element and a second      element disposed on top of a
    lens element disposed     first lens element”
    over the first lens

6
    See expert testimony and Lighting Handbook cited in Response at page 14-15.

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            Term                 Ultravision’s Proposal                 Acuity’s Proposal
    element”                                                     arranged on another lens with
                                                                 two or more optical surfaces”7

               1.      Ultravision’s Opening Position

        Acuity’s proposal would require that each “lens element” be a distinct lens, contrary to the

plain language of the claim which only requires an element of a lens. The Court should reject

Acuity’s proposal because it contradicts disclosed embodiments and is unsupported by any

lexicography or disclaimer. The Texas Court rejected Acuity’s proposed construction when

construing the term “a first lens element and a second lens element disposed over the first lens

element.” Ex. 6 at 9-15. This Court should reject Acuity’s arguments for the same reasons.

        The Asserted Patents recite a “lens element” as a portion of a lens, not a distinct lens as

Acuity’s construction would require. Claim 1 of the ’410 Patent recites, “each of the plurality of

optical elements comprises a first lens element and a second lens element disposed over the first

lens element.” 8:42-45. The claim is clear that the optical element has two “lens elements” above

one another. Defendants’ construction would instead require two lenses, each with two optical

surfaces, which are placed atop one another. Defendants cannot identify any support for this

requirement.

        The Texas Court expressly rejected Acuity’s proposal, reasoning that it contradicts the

specification’s disclosure that a first lens element and second lens element of a lens need not be

different lenses:

        This would require the “optical element” to be an assembly of these distinct lens
        elements. Contrary to Defendants’ contention, the specification does not describe
        optical element 804 as an assembly of distinct structures. Instead, the specification
        describes the optical element as comprised of multiple lens elements, not multiple

7
 The parties agree that a lens element has two or more surfaces. As Acuity concedes in its
Response (p. 23) and Ultravision argues in its Reply (26), Acuity agrees to change “two optical
surfaces” to “two or more optical surfaces.”
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       lenses. Id. at 8:6–7 (“[A] single optical element 806 may include multiple lens
       elements”) … To be sure, there is no discussion of a method of assembly or
       indication that the optical element must be an assembly of distinct structures. Figure
       8D illustrates optical element 806 as a single piece by including hatching
       throughout the entire cross-section. Id. at 8:6–9 (“As shown in FIGS. 8D-8H, a
       single optical element 806 may include multiple lens elements designed to
       distribute the illumination provided by a single LED 804 across a surface such as
       the surface 102 of FIG.1.”).




       ’410 Patent at Fig. 8D, 8E (highlighting added). Thus, a person of ordinary skill in
       the art would understand that Figures 8D–8H illustrate a unitary optical element,
       and not an assembly of distinct elements. That said, there is nothing that prevents
       the optical element from being an assembly of distinct lens elements, as Defendants
       propose. However, the intrinsic evidence does not require it, and it would be
       improper to read this requirement into the claims.

Ex. 6 at 12-13. Because the intrinsic evidence shows that a lens with multiple lens elements need

not be assembled from different lenses, this Court should reject Acuity’s proposal for the same

reasons articulated in the Texas Action.

               2.      Acuity’s Answering Position

       The Patents-in-Suit use at least five different terms to discuss specific aspects of optical

structures used with the claimed lighting assemblies, i.e.,

   1. optics panel is the overall collection of lenses for the lighting assembly and it
      includes one or more lens panels, see, e.g., ’410 Patent at Figs. 2 and 8A, and 4:43-
      49 (discussing optics panel 206)) and 6:58-59;

   2. optical element is a collection of one or more lens elements and those lenses are
      components of the optics panel or lens panel, see, e.g., Id. at Figs. 5A and 8B-8J,


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       and 4:64-5:1 (optical elements 514 are the lenses of the optics panel), 8:6-15
       (discussing optical elements 806;

   3. lens panel is a substrate with one or more optical elements, i.e., lenses, see, e.g., Id.
      at Figs. 5A and 6A-6C, 4:43-49 (discussing lens panel 500), 4:64-65, and 6:55-59
      (discussing lens panel 604);

   4. lens element is discussed with respect to Figs 8D-8H and is described as a
      component of a complex optical elements depicted in Figs. 8, see, Id. at 8:6-14; and

   5. surface of a lens is discussed with respect to Figs 5C and D and is described as inner
      surface 524 and exterior surface 526 of the lens structure 522, Id. at 5:29-48.

Ultravision’s proposed “plain and ordinary meaning” construction seeks to conflate the patents’

discussion of lens elements and surfaces, so that Ultravision can continue to pursue certain of its

infringement contentions that equate two “lens elements” with the two surfaces (inner and exterior)

of a single lens. See e.g., Ex. D, UV Infr. Cont. App. A-8 at 4 (“optical elements disposed over

each LED further comprise [sic] a bottom surface (e.g. a first lens element) and a top surface (e.g.

a second lens element)”). Acuity, on the other hand, proposes a construction of “lens element”

that is consistent with the specification, which distinguishes the phrase “surface” of a lens from

the phrase “lens element” and teaches that a lens element is a lens with two optical surfaces.

Acuity’s construction is consistent with both the plain meaning and the intrinsic record.

       The Patents-in-Suit use the term “lens element” only in connection with the embodiment

of Figures 8D-H. In that embodiment, “lens element” refers to a lens with two or more optical

surfaces, and an “optical element” refers to multiple lens elements, with one lens element disposed

over another, as claimed. The specification explains, “[a]s shown in FIGS. 8D-8H, a single optical

element 806 [shown in Figures 8A-C] may include multiple lens elements designed to distribute

                                                                 the illumination provided by a

                                                                 single LED 804” and “a first lens

                                                                 element 820 may be positioned


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proximate to the LED 804, and additional lens elements 822, 824, and 826 may be positioned

above the lens element 820.” ’410 Patent at 8:6-13, FIGs. 8D-8G. This multiple lens configuration

is needed to achieve the desired light distribution. Id. A “lens element” is not merely the surface

of a lens. Rather, as illustrated in the figures, each lens element is a lens with two optical surfaces.

        This is further confirmed by the specification’s discussion regarding Figures 5A-D that

depict a “lens panel” that “may include multiple optical elements” (’410 Patent at 4:64-65) each

of which is depicted in Figs. 5 as a lens that overlies an associated LED. Importantly, the patent

never uses the term “lens element” to describe the optical elements of Figures 5A-D. Instead, the

specification describes the optical elements as having “surfaces.” ’410 Patent at 5:43-48. In other

words, the specification uses the term “surface” when referring to a lens surface and it uses the

term lens element when referring to the complex lenses of Figs. 8. When the patentee wanted to

describe multi-surface lenses (i.e., “lens elements”) that are combined to form an optical element,

it also did so explicitly. Id. at 8:16-14. And when the patentee wanted to describe the surface of a

lens, it did so explicitly. Ultravision’s effort to conflate these two terms contradicts the patents.

        Notably, in the Texas Action, Ultravision made a similar argument in an effort to broadly

construe “lens element” to cover a lens surface. Ultravision’s argument was rejected:

        The problem with Plaintiff’s argument is that the Asserted Patents use the disputed
        term “lens element” only in connection with the embodiment of Figures 8A-J.
        These figures illustrate and identify different geometric shapes (820, 822, 824,
        826), not the surfaces, as the “lens elements.” Id. at Figs. 8D, 8E, 8F, 8G.

        In contrast to this description, the specification states that Figures 5A–D depict a
        “lens panel 500” that “may include multiple optical elements 514.” Id. at 4:64–65.
        The specification does not use the term “lens element” to describe any component
        of these figures. Instead, the specification describes items 526 and 524 as
        “surfaces,” not “lens elements.” Id. at 5:43–48. Thus, the Court rejects Plaintiff’s
        argument that a “surface” is a “lens element,” because it is inconsistent with the
        intrinsic evidence and would read “lens element” out of the claims.

Ex. 6, Holophane Markman Order at 11-12. The same finding is appropriate here.


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       Finally, Ultravision’s arguments regarding “distinct” lenses appear to be an errant holdover

from the Texas Action. Here, Acuity dropped the term “distinct” from its construction, in response

to the Texas’ Court’s construction. In the Texas Action, the court reasoned that the asserted patents

contemplate a lens that may be formed as having an “assembly of distinct structures.” Ex. 6,

Holophane Markman Order at 11-12 (“[t]hese figures illustrate and identify different geometric

shapes (820, 822, 824, 826), not the surfaces, as the “lens elements.”). Acuity’s construction is

consistent with this reason, and is consistent with the intrinsic record that distinguishes between

the surface of a lens and a lens element, as confirmed in the Texas Action.

       The implicated asserted claims require very specific lens configurations with lens elements

disposed over other lens elements, similar to that disclosed in Figs. 8. Ultravision’s effort to read

out these limitations and replace them with a lens with an inner and outer surface is inconsistent

with the plain meaning of the term and is not supported by the intrinsic record, which consistently

uses “lens element” to mean a lens structure with two optical surfaces. Acuity’s construction is

consistent with both the plain meaning and the intrinsic record, and thus should be adopted.

               3.      Ultravision’s Reply Position

       Ultravision is not taking the position that the inner and exterior surface of a lens are

different “lens elements.” The sole issues in dispute are (1) whether a “lens element” requires a

distinct optical surface (it does not), and (2) to the extent a “lens element” requires any optical

surface, whether it can have more than two optical surfaces (it can).

       First, it remains unclear whether Acuity’s construction requires that a “lens element” be an

assembly of separate pieces. Acuity misleadingly states that it “dropped the term ‘distinct’ from

its construction, in response to the Texas’ Court’s construction,” while relying on the

mischaracterization that “the [Texas Court] reasoned that the asserted patents contemplate a lens

that may be formed as having an ‘assembly of distinct structures.’” Response at 25 (emphasis
                                                 25
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added). Acuity’s usage of the term “optical surface” still apparently requires that lens elements be

separate pieces as opposed to, for example, different portions of a single injection molded optical

element. As the Texas Court reasoned, “there is no . . . indication that the optical element must be

an assembly of distinct structures . . . a person of ordinary skill in the art would understand that

Figures 8D-H illustrate a unitary optical element, not an assembly of distinct elements.” Ex. 6 at

13. Acuity’s proposal requiring that a “lens element” include an interior “surface” is unsupported

and contradicts the disclosed embodiments.

       Second, there is no basis for limiting a “lens element” to two optical surfaces. Acuity itself

states that “[i]n [the embodiment of Figure 8], “lens element” refers to a lens with two or more

optical surfaces.” Response at 23 (emphasis added).

       Accordingly, Acuity’s proposed construction should be rejected, and “lens element” should

be accorded its plain and ordinary meaning, i.e., “an element of a lens.”

               4.      Acuity’s Sur-Reply Position

       The parties appear to agree as to the proper construction of this term: “a lens with two [or

more] optical surfaces.”

       First, Ultravision concedes that it “is not taking the position that the inner and exterior

surface of lens are different ‘lens elements’” (Reply at 25) and the parties agree on that aspect of

the construction.8

       Second, the parties agree that “distinct” is not part of the construction and that lens elements

can be combined, such as depicted in Figures 8A-J. In other words, Acuity’s construction is

consistent with the specification’s description that “a single optical element 806 may include

multiple lens elements designed to distribute the illumination provided by a single LED 804.” ’410


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 Presumably Ultravision will drop its assertion of claims for which its contention is based on lens
surfaces being lens elements. See, e.g., Ex. D, App. A-8 at 4 and Ex. R, App. A-6 at 6.
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Patent at 8:6-10. This includes optical elements comprising multiple lens elements formed through

an injection molding process because each lens element (of the injection molded optical element)

still interacts with the light differently, consistent with Acuity’s construction.

       Third, the parties agree that a lens element has two or more surfaces. As Acuity concedes

in its Response (p. 23) and Ultravision argues in its Reply (p. 26), Acuity agrees to change “two

optical surfaces” to “two or more optical surfaces.”

       C.      Term 3: “convex optical element”

          Term                    Ultravision’s Proposal                  Acuity’s Proposal
  “convex optical            Plain and ordinary meaning,          optical element with a “radially
  element”                   where the plain and ordinary         symmetric hemispherical outer
                             meaning is “an optical element       surface”
                             that is convex”

               1.      Ultravision’s Opening Position

       Acuity’s proposed construction would require that a “convex optical element” be a perfect

hemisphere. Acuity’s construction should be rejected because it seeks to limit the term “convex”

to a single undisclosed embodiment, and because it is unsupported by any lexicography or

disavowal.

       The specification contains no support for limiting “convex optical element” to one with a

“radially symmetric hemispherical outer surface.” Acuity’s proposed construction appears to be

an attempt to import the embodiment shown in Figure 5A:

       But the panel of Figure 5A is only one embodiment of the invention (Ex. 1, 4:43-45), and

nothing in the specification indicates that the term “convex optical element” was intended to be

limited to the lens elements shown in Figure 5A. There is also no support for Acuity’s apparent

assumption that optical elements 514 have a “radially symmetric hemispherical outer surface.”

Indeed, there is no disclosure anywhere in the patent specification of an optical element with a


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“radially symmetric hemispherical outer surface.” As such, Acuity’s proposal should be rejected

as an improper attempt to limit the claims

       Acuity’s proposal should also be rejected because it is inconsistent with the plain and

ordinary meaning of “convex,” and because “convex” is a straightforward term that does not need

to be construed. Ex. 7 at ¶ 65. One of ordinary skill in the art would recognize that “convex”

elements include bulging, as opposed to recessed (i.e. concave), surfaces. Id. (citing Ex. 13

(Cambridge dictionary defining convex as “curved or swelling out”); Ex. 14 (WolframAlpha

defining convex as “curving or bulging outward”); Ex. 15 (Dictionary.com defining convex as

“having a surface that is curved or rounded outward”)). In the absence of any lexicography or

disavowal, any construction of such a well-known term would needlessly add complexity to the

claims. In any case, Acuity’s arbitrarily narrow proposal is inconsistent with the plain and ordinary

meaning of “convex.”

       Acuity’s definition fails to account for other convex surfaces discloses in the Asserted

Patents. For example, FIGS. 8D-8I depict lens elements 822 and 824, each of which clearly has a

convex surface, but would not satisfy Acuity’s requirement for a radially symmetric hemisphere.

        Acuity’s proposed construction is also inconsistent with its use of the term “convex” in its

own patents. For example, Acuity refers to a pyramid shape as an example of a convex lens shape,

and walls with straight cross-sections as “convex reflective walls.” See US Patent 10,140,932, Ex.

22 at 20:6–9 and Fig. 5 (“convex lens like shape (e.g., pyramid shape)”). Acuity also describes

linear optics in terms of convex and concave cross-sectional curves US 10,393,341, Ex. 23 at 5:39–

46 Figs. 5 and 9). As such, Acuity’s proposed construction should also be rejected because it fails

to account for other convex surfaces disclosed in the Asserted Patents and is inconsistent with the

ordinary meaning of the term “convex” as recited in Acuity’s own patents.The term “convex lens



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element” should be accorded its plain and ordinary meaning, and Acuity’s proposed construction

should be rejected.

               2.      Acuity’s Answering Position

       The parties’ dispute ultimately focuses on what is the meaning of the term “convex” in the

context of the patents. The word “convex” is not used in the common specifications, nor is it

substantively discussed in the additional intrinsic record.        Accordingly, Acuity proposes a

construction that is consistent the plain and ordinary meaning in the field of physics, i.e., an optical

element with a radially symmetric hemispherical outer surface. While convex may have different

meanings in different fields, a skilled artisan would understand that convex means a circular shape

that protrudes outward with equal symmetry relative to a center axis.

       This meaning is consistent with the common specification’s depiction of a “convex optical

element.” As an initial but important point, it is undisputed between the parties that “optical

                                             element” in the Asserted Patents refers to a single lens.

                                             For example, in describing Figs. 5A-D, the common

                                             specification states that a “lens panel 500 may include

                                             multiple optical elements 514” and that “optical

elements 514 are configured so that light emitted from each LED 416 is projected onto the entire

surface 102 of the billboard 100.” ’410 Patent at 4:43-49, 4:64-65, 5:4-6. In describing this aspect

of the invention, the common specification states that “by designing the lens in such a manner,

when all LEDs are operating, the light form [sic] the collective thereof will illuminate the surface

at the 3:1 ratio.” Id. 5:16-20. See also, Op. Br. at 21 (“The claim is clear that the optical element

has ‘two lens elements’”; Ultravision’s proposed construction of “lens element” as “an element of

a lens”). Fig. 5A most clearly shows that each optical element 514 is one lens in its entirety. Id.

at Figs. 5A and 5D; 5:4-48 (Figs. 5A-5D depict one embodiment where an individual optical
                                                  29
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element 514 of Fig. 5A is shown at the lens structure 522 in Fig. 5D having an interior

surface 524 and an exterior surface 526 ). Furthermore, the lenses of Fig. 5A appear to be portions

of a sphere with radial symmetry, i.e., convex. To be clear, Acuity is not arguing that this

embodiment be imported into the claim as Ultravision argues; instead, Acuity is explaining the

consistency between the specification and the plain and ordinary meaning of convex, as used in

optical physics.

       Of equal importance, Ultravision’s expert, Dr. Coleman, seems to partially agree with

Acuity. Although Ultravision fails to disclose in its Opening Brief what is the plain and ordinary

meaning of convex or how Acuity’s construction is inconsistent with that meaning, Dr. Coleman’s

Declaration states that a skilled artisan “would understand a convex shape to bulge outwards, as

opposed a recessed (i.e., concave) shape, without the need for further clarification.” (Ex. 7,

Coleman Decl. at ¶ 65). Dr. Coleman’s concept of an outward bulging lens is consistent with

Acuity’s construction. In fact, certain of the extrinsic definitions provided by Dr. Coleman directly

support Acuity’s construction. See, e.g., Ex. 15, Dictionary.com at p. 2 (“Scientific Definitions

for Convex . . . Curving outward, like the outer boundary of a circle or sphere.”).

       In view of the foregoing agreement, Ultravision’s reliance on Figures 8D-8I to support a

different construction is puzzling. Ultravision appears to argue that these figures depict convex

surfaces, but that they would fall outside of Acuity’s construction. But these figures also would

fall outside the plain and ordinary meaning, as explained by Ultravision’s expert, i.e., a lens that

bulges outwards, as opposed to a recessed lens. Importantly and as discussed above, Figures 8D-

H each depict an “optical element” (i.e., a lens) with multiple lens elements. To be clear, the

applicant chose the phrase “convex optical element,” not convex lens element or convex surface

of a lens and, therefore, the claims require the optical element to be convex, not merely that a lens



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element be convex.9 Thus, a skilled artisan would not assess the lens elements of these figures

individually; the skilled artisan would assess whether the entirety of the optical element bulges

outward (as Dr. Coleman contends) or has a radially symmetric hemispherical outer surface, as

Acuity contends. The figures depict neither, as most clearly illustrated in Figures 8E, 8G and 8H.

Each of these figures depicts a complex optical element with outer surfaces that include concave

shapes. Even using Dr. Coleman’s understanding of the plain and ordinary meaning of convex

optical element, these optical elements do not qualify because optical elements with concave

portions in their outer surface are

not convex optical elements.

         Acuity’s construction for

“convex optical element” is consistent with the plain and ordinary meaning for this term as used

in the field of optical physics, and it is consistent with the common specification’s description for

optical element. Each of Ultravision’s arguments related to Acuity’s use of the word “convex”

ignores that the claim term at issue is “convex optical element,” which relates to the entirety of

the outer surface of a lens, not merely a portion of it.

                3.     Ultravision’s Reply Position

         Acuity improperly seeks to limit the term “convex optical element” to the hemispherical

embodiments supposedly depicted in FIG. 5. Ex. 24 at 106:3-107:6. While Acuity disputes that it

seeks to limit the claims to those embodiments, it relies on its expert’s definition which purports

to “describe[] them in my own words.” Id. Acuity’s proposal should therefore be rejected as

improperly limiting claims to a narrower embodiment. See Superguide Corp. v. DirecTV Enters.,

Inc., 358 F.3d 870, 875 (Fed. Cir. 2004).


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    Notably, Claim 30 of the ’946 Patent refers to an “optical element [that] comprises a convex
    portion” unlike the terms at issue which require the entire “optical element” be convex.
                                                  31
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       Acuity’s construction should also be rejected because it looks to the field of “classical

physics” for an overly restrictive definition of the term “convex,” rather than the field of lighting

in which “convex” refers to a bulging (as opposed to recessed) surface. Compare Ex. 24 67:19-23

and Response at 29-31 with Ex. 7 ¶ 65. Acuity also fails to address its own use of the term “convex”

in patents to refer to pyramid shapes and ridges, both of which are consistent with the ordinary

meaning of “convex” in the field of lighting. See Brief at 14.

       Acuity’s construction is also improper because it improperly characterizes the lenses in

Figure 5 as hemispherical, i.e., half of a sphere, when the specification does not indicate that the

drawing is to scale or may be relied on for precise measurements. Hockerson-Halberstadt, Inc. v.

Avia Grp. Int’l, 222 F.3d 951, 956 (Fed. Cir. 2000) (“[I]t is well established that patent drawings

do not define the precise proportions of the elements and may not be relied on to show particular

sizes if the specification is completely silent on the issue.”) A hemisphere is defined as “a half of

a sphere” and a sphere is “a round body whose surface is at all points equidistant from the center.”

Exs. 25-26. As Acuity’s expert acknowledged, the lenses in Figure 5 are not characterized as

hemispherical and their dimensions are not disclosed in the specification. See Ex. 24 at 107:23-

108:17 (“Q:[Y]ou assumed these figures were drawn to scale, correct? . . . A: I didn’t necessarily

assume that because it looks like the LED is not the right dimension for the lens . . .”). As such,

Figure 5 lends no support to Acuity’s proposed construction.

       Finally, Acuity’s proposal improperly contradicts the claims and disclosed embodiments

of the Asserted Patents. For example, Acuity’s proposal would conflict with the language of claim

21, which requires a convex optical element with three portions and corresponding directions

where, like elements 822, 824, and 826 of the embodiment of FIG. 8, “the first primary direction

is a lateral direction, the second primary direction is also a lateral direction, and the third primary



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direction is approximately orthogonal to the first and second lateral directions.” See also ’946

Patent, Claim 22. Moreover, it is unclear how Acuity’s proposal permits any convex optical

element with multiple lens elements.

                  4.      Acuity’s Sur-Reply Position

          Two disputes remain: (1) what is convex and (2) what does convex mean?

          First, the intrinsic record indisputably teaches that an optical element is a complete lens.

See, e.g., 4:64-5:1 (optical elements 514 are the lenses of the optics panel). Thus, the outer surface

of the lens is convex; not merely another surface of a lens element. Ultravision’s Reply does not

directly address the specification’s distinction between an optical element and a lens element , but

it does make reference to the Figure 8 embodiments, which Ultravision contends are captured by

claim 21 of the ’946 Patent. To the extent Ultravision is arguing that claim 21 is limited to the

embodiment of Figures 8, there is no legal basis for that argument and that

argument would read out other disclosed embodiments. For example,

Figure 5D depicts a convex optical element 526 with three facets on the

inner surface. Accordingly, Acuity’s construction is consistent with both the teaching of the

specification and the claim limitation that requires an “optical element” to be convex; not merely

a portion of the optical element’s surface.10

          Second, Ultravision takes conflicting positions with respect to what convex means; i.e., it

argues that (i) no construction is necessary and “convex” should be repeated in the construction

(Opening Br. at 27-29), (ii) convex means different things in different fields (Reply at 32), and

(iii) convex means “bulging, as opposed to recessed (i.e. concave), surfaces” (Opening Br. at 28).

These inconsistencies, as well as the various inconsistent definitions in the dictionaries cited by



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     Ultravision also refers to claim 22 of the ’946 Patent but that claim is not asserted.
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Ultravision (Ex. 13, 14 and 15), are the very reason that a plain and ordinary meaning construction

will not suffice.

        Instead, the term should be given its meaning in the field of physics, and particularly optical

physics. In that field, convex means a lens with at least a “radially symmetric hemispherical outer

surface.” That construction is consistent with Ultravision’s argument (Opening Br. at 28) that the

lens has an outer surface that (i) bulges outward and (ii) has no recesses. The construction is also

consistent with Figs. 5A-D and their accompanying description in the specification. And while

Ultravision focuses on Figures 8 (Reply at 32-33), it cannot explain away the fact that those figures

do not depict an outer surface that bulges outward with no recesses and are not convex under either

parties’ arguments.

        Ultravision’s attempt to distract the Court by referring to Acuity’s patents is equally

unavailing. U.S. Patent No. 10,140,932 does not refer to a convex optical element, but instead

refers to a housing as having a “convex lens like shape (e.g., pyramid shape).” Op. Br. at 28; Rep.

Br. at 32. Furthermore, the ’932 Patent is consistent with Acuity’s construction. It describes a

“curved optical element 205” that can be “a transparent convex shaped surface”, which is depicted

as an optical element similar to Fig. 5 and aligns with Acuity’s construction. See. Ex. 22, ’932

Patent at 19:64-67, Fig. 4.

        Acuity’s construction is correct because a POSITA would understand “convex” to mean

having at least a “radially symmetric hemispherical outer surface.”11




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   Notably, the USPTO Patent Trial and Appeal Board agreed with Acuity’s expert that Fig. 5
depicts convex surfaces. See Ex. S, ’946 IPR Institution Decision at 6 (“The written description
of the ’946 patent does not appear to describe expressly, “convex optical elements” as recited in
claim 1, although it appears that optical elements 514 depicted in Figure 5A have convex surfaces.
See Ex. 1001, Fig. 5A; see also Pet. 90.”). Acuity’s construction is consistent with a skilled
artisan’s understanding informed by what the specification depicts as “convex.”
                                                  34
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       D.      Term 4: “display surface”

           Term                  Ultravision’s Proposal                 Acuity’s Proposal
  “display surface”         Plain and ordinary meaning,         “sign surface”
                            where the plain and ordinary
                            meaning is “surface to be
                            displayed using illumination”

               1.      Ultravision’s Opening Position

       The plain language of the claims themselves compels a plain meaning construction of

“display surface,” which includes any surface to be displayed using illumination, and Acuity’s

proposed construction limiting this term to lighting for use with signs should be rejected.

       The claims require the direction of light onto a “display surface,” which in certain instances

can be part of a billboard. Compare ’410 Patent, claim 1 (“configured to direct light from each of

the plurality of LEDs of the lighting assembly onto a display surface external to the optics panel”)

with claim 10 (“the light from each lens is directed across the entire display surface of the

billboard”). When the patentee wanted to claim a billboard-only application, it chose to do so.

The plain meaning of the term “display surface” is a surface that is to be displayed, and to narrow

the claims beyond that is error. Even if the specification only discloses a single embodiment, that

is not a basis for reading features and functions of that embodiment into the claims. Continental

Circuits LLC v. Intel Corp., 915 F.3d 788, 797 (Fed. Cir. 2019) (expressly rejecting that the claims

of the patent must be construed as being limited to a preferred embodiment).

       While the Texas Court construed this term to mean “sign surface,” that construction was

in error. The Federal Circuit has cautioned that, “even when the specification describes only a

single embodiment, the claims of the patent will not be read restrictively unless the patentee has

demonstrated a clear intention to limit the claim scope using ‘words or expressions of manifest

exclusion or restriction.’” Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 906 (Fed. Cir.


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2004); see also Altiris, Inc. v. Symantec Corp., 318 F.3d 1363, 1371 (Fed. Cir. 2003) (holding that

it was improper to read an order of steps embodiment into method claims because the specification

“nowhere [included] any disclaimer of any other order of steps, or any prosecution history

indicating a surrender of any other order of steps.”) Here, as in Cont’l Circuits, Liebel-Flarsheim,

and Altiris, there are no “words or expressions of manifest exclusion or restriction” that limit that

the claimed invention to use with a billboard or sign. To the contrary, one of skill in the art would

recognize that the inventor was in possession of an LED light fixture capable of uniformly

illuminating any surface. Ex. 7 at ¶ 60. There is no teaching that the light fixture could only work

with signage as opposed to other display surfaces (e.g. a wall, floor, or street), nor is there any

teaching that illumination of other display surfaces is different than lighting a sign. As such,

because the plain meaning of the term “display surface” is broader than the term “sign,” and

because there are no “words or expressions of manifest exclusion or restriction” that limit a

“display surface” to a sign, Acuity’s proposed construction should be rejected.

        The term “display surface” should therefore be accorded its plain and ordinary meaning,

i.e. surface to be displayed using illumination.

                2.      Acuity’s Answering Position

        The parties’ dispute is whether the claimed “display surface” to be illuminated is (i) a sign

surface, such as that of the billboards and exterior illuminated signs that are described as the scope

of the invention, or (ii) any surface, such as the surfaces of streets, sidewalks, parking lots or grassy

fields that are illuminated by the accused products. The Asserted Patents are unquestionably

limited to LED lighting for signs, as even Ultravision argued in the Lamar case. In fact, the

common specifications for the Asserted Patents expressly describe the scope of the invention as,

“[a]lthough billboards are used herein for purposes of example, it is understood that the present

disclosure may be applied to lighting for any type of sign that is externally illuminated.” ’410
                                                   36
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Patent at 2:6-9, 6:47-52 (“It is understood that various standard configurations of the lighting

assembly 110 may be developed for various billboard and/or other externally illuminated signs

. . .”). In view of the intrinsic record, it is not surprising that the Texas Court already construed

display surface to mean sign surface, finding that the specification only and repeatedly refers to

illuminating the surface of a sign (e.g., billboard) and “[w]here, as here, a patent repeatedly and

consistently characterizes a claim term in a particular way, it is proper to construe the claim term

in accordance with that characterization.” Wis. Alumni Research Found. v. Apple Inc., 905 F.3d

1341, 1351 (Fed. Cir. 2018), cert. denied, 140 S. Ct. 44 (2019) (citation / quotation marks omitted).

       While the term “display surface” is not used in the common specifications, the specification

repeatedly and consistently identifies the “surface” to be illuminated as the surface of a billboard.

See e.g., ’410 Patent at 2:11-12 (“billboard 100 includes a surface 102 onto which a picture and/or

text may be painted, mounted, or otherwise affixed”); 2:25-26 (“billboard 100 to illuminate some

or all of the surface 102); 2:35 (“surface 102 of the billboard 100); 3:17-18 (“surface 102 of the

billboard 100); 4:20 (“surface 102 of the billboard 100); 5:6 (“surface 102 of the billboard 100);

etc. Notably, the patents never refer to illuminating a “surface” as anything other than illuminating

a sign (e.g., billboard) surface. Even in the two instances in which the patent suggests uses other

than for billboards, the patent still makes clear that the invention is intended for externally

illuminated signage (which includes billboards):

       Although billboards are used herein for purposes of example, it is understood that
       the present disclosure may be applied to lighting for any type of sign that is
       externally illuminated.

’410 Patent at 2:6-9.

       It is understood that various standard configurations of the lighting assembly 110
       may be developed for various billboard and/or other externally illuminated signs so
       that a particular configuration may be provided based on the parameters associated
       with a particular billboard and/or externally illuminated sign.


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’410 Patent at 6:47-52.

       In fact, in the Lamar litigation (which involved some of the Patents-in-Suit, as well as other

patents that share a common specification with the Patents-in-Suit), Ultravision agreed with

Acuity’s position here:

       The Patents-in-Suit relate to LED lighting assemblies for billboards. . . . Generally
       speaking, the asserted claims speak to the illumination of billboards with LED
       lighting assemblies. The asserted claims relate to the LED lighting assemblies used
       to light the billboards as well as the optical elements (i.e., lenses) used in the LED
       lighting assemblies to create uniform illumination of the billboard surface.
       Additional asserted claims relate to the billboards including the LED lighting
       assemblies, and other claims relate to the methods used to illuminate the billboards
       using the LED lighting assemblies. The patented technology provides a number of
       benefits-both in the quality and economics of billboard lighting.

See Ex. B, Lamar Op. Br. at 1. Yet, Ultravision now argues to the contrary.

       Ultravision’s primary argument is that “when the patentee wanted to claim a billboard-only

application, it chose to do so.” Op. Br. at 35. First, this argument is a non-sequitur. Acuity’s

proposed construction is not billboard surface; it is sign surface, which is broader than billboard

surface, and is commensurate with the scope of the invention described in the specification. Acuity

is not proposing to limit display surface to a billboard surface; it proposes the broader phrase sign

surface because that is what would be understood by a skilled artisan, who reviews the intrinsic

record and considers that it only teaches illuminating a sign surface. See Microsoft Corporation v.

Multi–Tech Systems, Inc., 357 F.3d 1340, 1348–49 (Fed.Cir. 2004) (holding statements in the

Summary of the Invention and the prosecution history that describe the overall inventions of the

patents may limit the scope of claims even though the language of the claims, read in isolation,

might support a broader construction); SkinMedica, Inc. v. Histogen Inc., 727 F.3d 1187, 1196

(Fed. Cir. 2013) (citing Computer Docking Station Corp. v. Dell, Inc., 519 F.3d 1366, 1374 (Fed.

Cir. 2008) (citing Watts v. XL Sys., 232 F.3d 877, 882 (Fed.Cir. 2000))) (“Disclaiming the ordinary

meaning of a claim term—and thus, in effect, redefining it—can be affected through “repeated and
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definitive remarks in the written description.”); SciMed Life Sys., Inc. v. Advanced Cardiovascular

Sys., Inc., 242 F.3d 1337, 1344 (Fed. Cir. 2001)(“[T]he written description can provide guidance

as to the meaning of the claims, thereby dictating the manner in which the claims are to be

construed, even if the guidance is not provided in explicit definitional format.”); Bell Atl. Network

Servs., Inc. v. Covad Commc'ns Grp., Inc., 262 F.3d 1258, 1268 (Fed.Cir. 2001) (“[A] claim term

may be clearly redefined without an explicit statement of redefinition. . . In other words, the

specification may define claim terms by implication such that the meaning may be found in or

ascertained by a reading of the patent documents.” (internal quotation marks omitted)).

       Second, Ultravision’s position here not only disregards the applicants’ statement of the

invention, Ultravision took the opposite position in the Lamar case in which it argued that claim

16 of the ’413 Patent, which refers to a “display surface,” is limited to billboards even though it

does not refer to a billboard. Ex. B, Lamar Op. Br. at 1; see also Ex. 10, Lamar Markman Tr. at

44-45 (Ultravision counsel arguing that Lamar’s arguments relating to indefiniteness of claim 16

of the ’413 patent based on “parking lot lights” were irrelevant because the patents address

challenges of “billboard lighting” not found in parking lot lighting).

       Next, Ultravision’s argument (Op. Br. at 35-36 (citing Continental Circuits LLC v. Intel

Corp.)) that if the specification only discloses a single embodiment, the features and functions of

that embodiment should not be read into the claims is misplaced. Continental Circuits LLC v. Intel

Corp., 915 F.3d 788 (Fed. Cir. 2019). Unlike in Continental Circuits, where the specification used

exemplary language and was clear to avoid explaining the scope of the invention according to a

particular embodiment (id. at 797), the Patents-in-Suit unmistakably describe each embodiment in

terms of billboards and signs. And as noted above, even the applicant’s caveat about scope limits

the scope of the invention to illuminating externally illuminated signs. ’410 Patent at 2:6-9.



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               3.      Ultravision’s Reply Position

        Acuity fails to identify any lexicography or disavowal limiting the term “display surface”

to a sign. Acuity instead relies on Ultravision’s general discussion of benefits of the patented

inventions in the Lamar Action for the misstatement that Ultravision “argued the patented

technology was unquestionably limited to billboards.” Response at 38. The plain language of

Acuity’s block quote belies its mischaracterization. Id. In any case, Ultravision’s summary does

not supplant the intrinsic record.

        Acuity fails to distinguish Liebel-Flarsheim’s holding that it is improper to limit claim

scope to disclosed embodiments absent “words or expressions of manifest exclusion or

restriction.” Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 906 (Fed. Cir. 2004). Acuity also

fails to distinguish Continental Circuits, relying on the mischaracterization that the Federal Circuit

relied on use of “exemplary language” in the patent specification. Rather, the Federal Circuit noted

that the statements described how to make the claimed invention using the preferred embodiment,

“and are not statements clearly limiting the claimed ‘electrical device’ to require [the preferred

embodiment].” Cont’l Circuits LLC v. Intel Corp., 915 F.3d 788, 797 (Fed. Cir. 2019).

        Accordingly, the term “display surface” should be given its ordinary meaning, i.e., “surface

to be displayed using illumination.

               4.      Acuity’s Sur-Reply Position

        The intrinsic record and Ultravision’s arguments in the Lamar case are consistent with

Acuity’s proposed construction: a display surface is a “sign surface”, such as the surface of a

billboard. Acuity’s Response demonstrates that the Asserted Patents are unquestionably limited

to LED lighting for signs. See e.g., Response at 36-37. The Patents-in-Suit state this at ’410 Patent

at 2:6-9.



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          This is true under the reasoning in the Federal Circuit’s opinions in Wis. Alumni Research

Found. and Liebel-Flarsheim Co.            As the Texas Court agreed, when the intrinsic record

“‘repeatedly and consistently characterizes a claim term in a particular way, it is proper to construe

the claim term in accordance with that characterization.’” Ex. 6 at 47, citing Wis. Alumni Research

Found. 905 F.3d at 1351. That is the case with respect to display surface, “[t]o be sure, the

specification never refers to illuminating a “surface” as anything other than illuminating a sign

(e.g., billboard) surface.” Ex. 6 at 47.

          Likewise, the Federal Circuit’s opinion in Liebel-Flarsheim Co. v. Medrad, Inc. is not

inconsistent. In Liebel-Flarsheim, the Federal Circuit reiterated that “‘an inherent tension exists

as to whether a statement is a clear lexicographic definition or a description of a preferred

embodiment. The problem is to interpret claims ‘in view of the specification’ without

unnecessarily importing limitations from the specification into the claims.’” 358 F.3d at 905-06.

The Federal Circuit then conducted a fact specific analysis based on the intrinsic record before it.

And while it found that the intrinsic record in that case did not support the narrowing construction,

it distinguished the facts of that case from other cases where ordinary claim terms were construed

narrowly when the specification makes clear to a skilled artisan that a term should be limited by

the specification.12 Here, the Patents-in-Suit not only describe a single embodiment (billboard

illumination), they characterize the invention as encompassing illumination for externally

illuminated signs, which includes the billboard embodiment and other undisclosed signage




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           See, e.g., Liebel-Flarsheim at 907, citing Wang Laboratories, Inc. v. America Online, Inc.,
     197 F.3d 1377 at 1382 (Fed. Cir. 1999) (holding the term “frame” to only refer to “character-
     based systems” because the specification “would not be ... understood by a person skilled in the
     field of the invention” to refer to additional systems outside of the disclosed scope of the
     invention); Id. at 907, citing Toro Co. v. White Consol. Indus., Inc., 199 F.3d 1295, 1301–02
     (Fed. Cir. 1999) (construing claim consistent with specification).
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embodiments. This description is consistent with the problems identified in the patents and the

purported solutions to those problems, which are specific to signage illumination. See e.g., ’410

Patent at 2:49-64 (solving uniformity and light trespass on “surface 102” of “billboard 100”).

Under the fact specific analysis of the intrinsic record, a skilled artisan would understand that the

scope of the applicants’ claimed invention was signage illumination and the claimed display

surface is a sign surface.

       E.      Term 5: Area Limitations

          Term                   Ultravision’s Proposal                 Acuity’s Proposal
  Area Limitations:          Area/region terms: No               “sign” / “rectangular sign”
                             construction necessary. To the
  “area” / “substantially    extent that the Court determines
  rectangular area           a construction is necessary, the
                             plain and ordinary meaning

               1.      Ultravision’s Opening Position

       This proposal represents Acuity’s attempt to limit all claims of these patents to signage

lighting applications, despite the Texas Court already rejecting Acuity’s proposed construction,

holding that “the Area Terms are unambiguous, easily understandable by a jury, and should be

given their plain and ordinary meaning.” Ex. 6 at 50. This Court should reject Acuity’s proposal

for the same reasons, and those set forth below.

       First, a person of ordinary skill in the art would not recognize the term “area” as limited

to a “sign.” Ex. 7, ¶¶ 55-60. One of ordinary skill in the art would understand “area” could refer

to any surface to be illuminated including, for example, a roadway. Id. at ¶¶ 55-58. One of

ordinary skill in the art would further understand that the claim recites “area” consistent with its

ordinary meaning. Id. at ¶¶ 59-60. There is no lexicography, disclaimer, or other “words or

expressions of manifest exclusion or restriction” that warrant the limitation of this term which is

otherwise clear to both a person of ordinary skill in the art and a lay juror. Liebel-Flarsheim, 358

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F.3d 898, 906 (“even when the specification describes only a single embodiment, the claims of

the patent will not be read restrictively unless the patentee has demonstrated a clear intention to

limit the claim scope using ‘words or expressions of manifest exclusion or restriction.’”)

Moreover, as with the term “display surface,” one of ordinary skill in the art would recognize

that the invention is not limited to signs or billboards. Ex. 7 at ¶ 60. One of ordinary skill in the

art would recognize that the inventor was in possession of an LED light fixture capable of evenly

illuminating a surface. Id. The invention (even the preferred embodiment) does not rely on any

feature peculiar to signs to achieve even illumination, nor is there even any feature of signs that

makes such illumination easier. Id. Moreover, the application of the disclosed embodiments to

illuminate other surfaces is readily apparent to one of ordinary skill in the art. Given the clear

ability to use disclosed embodiments to illuminate surfaces other than signs, and the absence of

any technical limitation or disavowal of such applications, the Federal Circuit’s holding that

claims may not be limited to a disclosed embodiment carries particular weight in this case. See

Liebel-Flarsheim, 358 F.3d 898, 906; see also Cont’l Circuits, 915 F.3d 788, 797.

       Second, the difference between the terms “area,” “display surface.” and “billboard”

would inform one of ordinary skill in the art that the claimed “area” is not limited to a “sign.”

Ex. 7 at ¶ 61. In contrast with those more limiting claim terms, a POSITA would recognize that

the term “area” is broader. See, e.g., Phillips, 415 F.3d at 1314 (explaining that use of “steel

baffles” and “baffles” implied that “baffles” did not inherently refer to objects made of steel); see

also Ex. 7 at ¶ 60. The Texas Court agreed, holding that “[i]n light of the intrinsic evidence, the

term “area” and “region” are broader than the previous term display service.” Ex. 6 at 50. The

patentee’s decision to draft these claims more broadly is entitled to deference, and Acuity’s

proposed construction should be rejected.



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       Third, Acuity itself has recognized that the term “area” is not limited to signs in its

invalidity arguments. In a petition for inter partes review filed against the asserted ’946 patent,

Acuity asserts that discussion of “illumination region Z” on a wall discloses an illuminated

“area.” Ex. 16 at 30-32. Acuity similarly asserts that numerous references disclose illuminating

an “area” by discussing illumination of a street or sidewalk. See e.g. Ex. 17 [E-01] at 9

(asserting that a streetlight discloses an assembly “configured to direct light from the LEDs

towards an area”); Ex. 18 [Ex. D-04] at 5 (asserting that “to illuminate a substantially rectangular

area” is disclosed in reference stating to “street lighting, parking-structure lighting, pathway

lighting. . .”). Moreover, Acuity’s IPR expert has opined that a POSITA would look to the fields

of “street lighting and parking-structure lighting” for purposes of obviousness combinations, and

opined that his experience is relevant to the Asserted Patents because of its similarity to “street

lighting.” Ex. 19 at ¶¶ 22, 138. In parallel, Acuity’s invalidity contentions argue that a POSITA

would look to “area lighting” as the relevant field for purposes of obviousness combinations. Ex.

20 at 27. Acuity cannot credibly take the position that a POSITA would recognize street lighting

or area lighting as a field of the invention but would not recognize that the term “area” can refer

to anything other than a sign. Acuity’s narrowing construction should be rejected as inconsistent

with its own positions.

       The area terms should be given their plain and ordinary meaning, and Acuity’s proposal

should be rejected.

               2.      Acuity’s Answering Position

       The parties’ dispute with respect to these terms is similar to their dispute with respect to

the display surface term, i.e., is the area that of a sign OR any area that can be illuminated, such as

the surface of a road, yard, or sidewalk? For the reasons explained in the previous section (supra



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III.D), this question is answered by the intrinsic record, which discloses lighting that addresses

problems specific to signage lighting.

          The specification discusses the alleged invention in the context of billboards and confirms

that its scope extends to other externally illuminated signs, not any area. See, e.g., ’410 Patent at

passim (directly or indirectly referring to billboard lighting in every figure; referring to billboard

lighting throughout the specification). Nowhere do the patents suggest that the alleged invention

is applicable to any “area” besides a sign or billboard. In fact, the only references to illuminated

areas in the patent are to the “surface 102” of a billboard. See ’410 Patent at 2:11-15, 2:19-22;

2:23-27, 2:33-37, 3:15-18, 4:20-21, 5:4-14, 5:60, 7:67-8:8, etc. For example, the specification

refers to a “rectangular target area” and the “rectangular target area of the surface 102,” which is

the “surface 102 of the billboard 100.” ’410 Patent at 5:4-14 (emphasis added). Similarly, the

excerpt at 7:27-8:30 (describing Figures 7A-B, 8A-8J, and 9) explains that those figures are more

detailed features of Figures 2 and 6A-C, all of which are more detailed figures of the lighting

assembly used to light the billboard of Figure 1. Id. at 1:35-62.

          Ultravision’s argument in its Opening Brief is notably devoid of a single reference to the

intrinsic record. Instead, Ultravision relies almost exclusively on its expert’s declaration.13 As this



13
      Ultravision’s reliance on Acuity’s IPR Petition and two claim charts are red herrings. First, in
     the IPR Petition, Acuity explicitly states it agrees with the Texas Court’s preliminary
     construction of area to mean sign, but that it presents broader arguments if the Board determines
     that area is broader than sign. Ex. 16, Acuity IPR at 5. Furthermore, Acuity routinely represented
     to the Board that the grounds were presented out of an abundance of caution. (Id. at 68 (“While
     area lights such as the accused DSeries and Autobahn lights are not configured to illuminate
     signs, if Patent Owner advocates for and/or the Board determines that “area” should be construed
     more broadly than “sign,” Maxik (alone or in view of Ruud) meets this limitation.”); 32 (“To the
     extent that “area” is construed as a “sign”, Shimada discloses illuminating a sign affixed to a
     wall. Ex-1004, Figs. 5, 6. A POSA understood that illuminating the framed and bounded area on
     a wall, as depicted in Figs. 5 and 6, is consistent and/or the same as illuminating a sign or
     billboard affixed to a stationary structure.”).


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Court is aware, extrinsic evidence is less significant than the intrinsic record in determining the

operative meaning of claim language. Phillips v. AWH Corp, 415 F.3d 1303, 1317 (Fed. Cir. 2005).

But it is noteworthy that Dr. Coleman’s deposition testimony regarding the phrase “substantially

rectangular area” supports Acuity’s construction, which focuses on how a skilled artisan would

understand that term, as used in the intrinsic record. At his deposition, Dr. Coleman was presented

with five shapes and asked to identify which was substantially rectangular. Ex. A, Coleman Depo.

at 123:19 - 124:22. In response, Dr. Coleman said he could not select a shape that was nearly

substantially rectangular; instead, he explained that answering that question requires a

consideration of the intrinsic evidence:

       I'm offering my opinions with respect to these patents and these claim
       constructions. And with respect to the claims, the -- the term “substantially
       rectangular” was referenced in a claim, for example, the one we discussed earlier,
       where there was the uniformity limitation imposed upon it. So that would -- the
       claim limitation would need to be evaluated in that context.

Id. at 120:9-15; Ex. Q, Coleman Depo, Ex. 8. Just as Dr. Coleman confirmed that what is

substantially rectangular requires an analysis of the intrinsic record, a skilled artisan also would

look to the intrinsic record to understand the meaning of substantially rectangular area. Acuity’s

construction accounts for and reflects the specification; Ultravision’s does not.

       Finally, Ultravision’s reliance on the Texas court’s construction and reasoning is

misplaced. It should be noted that the Texas court initially construed the area terms consistent

with Acuity’s proposed construction in a preliminary construction order. Ex. E, Prelim. Constr. at


  Second, in Ex. 17 (the Ratio light claim chart), Acuity explicitly states that it is mapping the
  prior art reference to the claims “using the same claim constructions and application of claim
  limitations, as used by Ultravision with respect to the identification of the claim limitation.”
  Finally, in Ex. 18 (the Marcoux claim chart), Acuity cites to the prior art’s statements at page 4
  and elsewhere that the prior art system “is used for a novel (indoor or outdoor) billboard
  illumination apparatus.” All of these instances reflect that Acuity’s arguments are made based
  on an assumption that Ultravision’s construction of area is adopted; not that Ultravision’s
  construction of area is correct.
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3. And although the Texas court later changed its construction to plain and ordinary meaning that

construction was inconsistent with its constructions of “predetermined bounded area” to mean the

“area determined by the dimensions of the display surface” and “display surface” to mean “sign

surface” (Ex. 6, Holophane Markman Order at 48 and 53). Moreover, in rejecting Ultravision’s

construction that “predetermined bounded area” be given its plain and ordinary meaning, the Texas

court’s construction treated area as that of a sign area (“‘predetermined bounded area’ means ‘area

determined by the dimensions of the display [sign] surface.’”)14 and that illustrates why its

preliminary construction of the area terms was the correct construction.

          Ultravision would have this Court err by considering the area terms in a vacuum and

without the context of the intrinsic record. But, as this Court is aware, even if a term is to be given

its plain and ordinary meaning, that plain and ordinary meaning is what would be understood by a

skilled artisan in the context of the specification and prosecution history. Trustees of Columbia

Univ. in City of N.Y., 811 F.3d at 1363-66 (finding that claim terms are read in view of the

specification and their use in the specification can limit the terms, even in the absence of an express

disavowal or lexicography); see also, Phillips 415 F.3d 1303 at 1313 (claim terms are to be

construed in the context provided by the specification). The “construction that stays true to the

claim language and most naturally aligns with the patent's description of the invention will be, in

the end, the correct construction.” Trustees of Columbia Univ., 811 F.3d at 1363 citing Renishaw

PLC v. Marposs Societa' per Azioni, 158 F.3d 1243, 1250 (Fed. Cir. 1998). Accordingly, a skilled

artisan would have turned to the common specification to understand that term, and a skilled artisan

would understand that the claimed area in the context of the Patents-in-Suit is a sign to be



14
      For “predetermined bounded area” construction, see Ex. 6, Holophane Markman Order at 53
     and for construction of “display surface” used by the Texas court in its construction, see id. at
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illuminated. Acuity’s construction is consistent with the plain meaning and the intrinsic record,

and Ultravision has not identified any evidence to the contrary.

               3.      Ultravision’s Reply Position

       Acuity’s proposal that the term “substantially rectangular / area” be construed as a

“rectangular / sign” fails for the same reasons as its “display surface” construction, and further

fails because it fails to account for the difference between the terms “display surface” and “area.”

See, e.g., Phillips, 415 F.3d at 1314 (explaining that use of “steel baffles” and “baffles” implied

that “baffles” did not inherently refer to objects made of steel). The term “substantially rectangular

area” is readily understandable to a lay juror, and Acuity fails to identify any lexicography or

disavowal justifying a construction. Neither can Acuity justify giving the term “area” the same

construction as the term “display,” when “area” is undisputedly broader. Acuity’s proposed

construction should be rejected.

               4.      Acuity’s Sur-Reply Position

       The Court should construe “area” and “substantially rectangular area” to mean “sign” and

“rectangular sign” for the same reasons discussed above with respect to the “display surface” term.

The term “area” in the Asserted Patents in inextricably linked to the display surface of a billboard.

See ’410 Patent at 2:11-15, 2:19-22; 2:23-27, 2:33-37, 3:15-18, 4:20-21, 5:4-14, 5:60, 7:67-8:8,

etc. As demonstrated above and in the Response (pp. 36-38), the intrinsic record is explicit

regarding the scope of the invention and courts have routinely held that broad terms may be

narrowed when the specification limits the application to a specific structure. See e.g, SciMed Life

Systems at 1341.

       F.      Term 6: “configured to” / “configured so”

          Term                     Ultravision’s Proposal                Acuity’s Proposal
  “configured to” /          “capable of”                        “designed to” /

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          Term                    Ultravision’s Proposal               Acuity’s Proposal
  “configured so”                                                “designed so”


               1.      Ultravision’s Opening Position

       The terms “configured to / so” are recited throughout the asserted claims in the context of

a “substrate,” “plurality of lenses,” or “plurality of optical elements” of an optic panel “configured

to” illuminate an area / display surface / billboard (’410 Patent, claims 1, 10, 15; ’413 Patent,

claims 1, 5, 11; ’738 Patent, claims 10 and 11; ’248 Patent, claims 1, 3, 10; ’946 Patent, claims

21); or a “lighting unit” or “lighting assembly” “configured to” direct light toward or across an

area / display surface / billboard (’738 Patent, claims 1, 10, 11, 12, 14; ’248 Patent, claims 1, 10,

11; ’946 Patent, claims 1, 12, 21, 24, 29). Acuity’s proposed construction that simply substitutes

“designed” for “configured” should be rejected because the claims at issue already recite the term

“designed for” when the patentee intended to claim a structure “designed for” a purpose. The

“configured” terms should instead be construed as “capable of” in order to give meaning to the

patentee’s decision to use “capable” rather than “designed” in certain contexts.

       Ultravision’s proposed construction is proper as to each category of the “configured [to] /

[so]” term because, in the context of the claims, the term is most naturally understood to include

any device capable of satisfying the claimed functionality. See Aspex Eyewear, Inc. v. Marchon

Eyewear, Inc., 672 F.3d 1335, 1349 (Fed. Cir. 2012) (noting that the terms “configured to,”

“capable of,” and “designed to” are frequently interchangeable in common parlance and looking

to the context of the claims to determine how the terms are “most naturally understood”). Here,

Claim 1 of the ‘946 Patent recites a:

       thermally conductive support structure configured for outdoor use, wherein the support

structure protects electronic components attached to the support structure from direct contact with


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rainwater, wherein the support structure comprises an attachment point for securing the support

structure to a weatherproof mount designed for outdoor use. (emphasis added).

       The distinction between a support structure “configured” for outdoor use, which merely

needs to protect electronic components from rainwater, and a weatherproof mount which is

expressly “designed” for use outdoors, shows that the patentee used the term “designed” more

narrowly than “configured.” To artificially define “configured to” as “designed to” violates basic

claim construction principles that different terms in the same claim are to be given different

meanings. See Digital-Vending Servs. Int’l, LLC v. Univ. of Phoenix, Inc., 672 F.3d 1270, 1275

(Fed. Cir. 2012) (“This construction is thus contrary to the well-established rule that “claims are

interpreted with an eye toward giving effect to all terms in the claim.) Acuity’s proposed

construction thus improperly erases the clear distinction between the terms “configured” and

“designed” already present in the claims. There is no lexicography or disavowal that warrants

rewriting the claims in this manner. Accordingly, the terms “configured to / so” should be

construed as “capable of” and Acuity’s proposed construction should be rejected.

               2.      Acuity’s Answering Position

       The parties’ dispute is whether these terms used in the context of the asserted patents should

be given their plain and ordinary meaning, which is “designed to” / “designed so” (as consistently

construed by other courts), or broadened to “capable of,” as Ultravision suggests. Ultravision

proposes to broaden these terms because that is necessary for it to continue its infringement claims

against the accused products that are configured to provide illumination consistent with certain

Illuminating Engineering Society (IES) classifications associated with roadway and flood light

applications, rather than configured to illuminate a specific area (regardless of how area is

construed). This dispute became apparent in the final stages of the Texas Action, when Ultravision

submitted an expert report with an infringement analysis based on a small subset of the space
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illuminated by the accused products, rather than the area illuminated by the accused product. As

depicted below, Dr.

Coleman’s            testing

related     to   a    small

portion      (rectangular

dotted box) of the

illumination         pattern

(represented by various

the colors, other than

royal blue).         Ex. F,

Holophane Resp. to Opp. Mtn. to Strike at 4. According to Ultravision and Dr. Coleman, the

accused products meet the “configured to” limitations because they are “capable of” uniformly

illuminating the cherry picked rectangle, even if they are configured to create a far larger

illumination pattern.

          The intrinsic record does not support Ultravision’s proposed broadening of the claim terms.

In claim construction, courts first examine the patent's intrinsic evidence to define the patented

invention's scope. See id.; C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d 858, 861 (Fed. Cir.

2004); Bell Atl. Network Servs, 262 F.3d 1258, 1267. The common specifications for the Asserted

Patents routinely equate “configured to” and “configured so” to mean “designed to” and “designed

so.”   For example, the common specifications describe that “the optical elements 514 are

configured so that the light emitted from each LED 416 is projected onto the entire surface 102 of

the billboard 100.” ’410 Patent at 5:4-6. Configuring the optical elements (i.e., lenses) in this

manner allows for the design feature that “if all other LEDs 416 were switched off except for a



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single LED 416, the entire surface 102 would be illuminated at the level of illumination provided

by the single LED 416.” Id. at 5:7-9. In the very same paragraph describing this feature, the

common specifications state “by designing the lens in such a manner, when all LEDs are operating,

the light form the collective thereof will illuminate the surface at the 3:1 ratio.” Id. at 5:16-19. The

applicant used similar designed to language throughout the specification. See e.g., ’410 Patent at

5:33-38 (“The minimum distance is designed such that overlapping light from adjacent LEDs does

not create interference patters and result in dead spots on the surface. The lens structure 522 is

designed to create the 3:1 uniformity and also, the lens structure is designed to “direct” the light

from an edge of the surface to cover the entire surface.”); 5:46-48 (“[w]ith such a design, the

lighting assembly can be disposed at an edge of the surface to illuminate the entire surface.”); 6:31-

38 (“In embodiments where the illumination is evenly distributed across the surface 102, it is

understood that the optics panel 206 may be configured specifically for the light panel 204 and

the surface 102. For example, assuming the surface 102 is forty-eight feet wide and sixteen feet

high, the lens panel 500 of FIG. 5 may be specifically designed for use with the PCB 402 of FIG.

4.”); 8:6-15(“As shown in FIGS. 8D-8H, a single optical element 806 may include multiple lens

elements designed to distribute the illumination provided by a single LED 804 across a surface

such as the surface 102 of FIG. 1. . . Multiple optical elements 806 may be combined and formed

as a single optics panel 604 that is configured to operate with the LED assembly 800.”).

       Similar to the examples above and contrary to Ultravision’s assertion, the claims

themselves use the terms “configured to” / “configured so” and “designed to” / “designed so”

synonymously, and not in a manner that is patentably distinct. See e.g., ’738 Patent, Claim 19 (“a

lighting assembly configured to illuminate a substantially rectangular region” versus Claim 25 (“A

lighting assembly designed to illuminate a substantially rectangular surface”). In contrast, the



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applicant uses the term “capable of” only in connection with a power supply capable of supplying

power to LEDs, and not interchangeably with “configured to.” See, e.g., ’410 Patent at 7:9-12 and

cls. 11 and 21; ’413 Patent at cl. 11.

       Consistent with the applicant’s interchangeable use of “configured to” and “designed to,”

this Court routinely has found that “configured to” is interchangeable with designed to and/or is

narrower than capable of. See, e.g., Sri International, Inc. v. Dell Inc., CV 13–737–SLR, 13–1534–

SLR, 2015 WL 2265756, *2 (D. Del. May 14, 2015) (construing “adapted to” to mean “configured

to”, “designed to” or “made to”, and rejecting contention that it should have a broader construction

of merely being “capable of”); Mitek Systems, Inc. v. TIS America Inc., CV 12-1208-RGA, 2014

WL 3891237, *2 (D. Del. Aug. 6, 2014) (refusing to construe “configured” to mean capable of,

but instead construing it to mean “arranged or set-up to perform a specified function”);

InterDigital Communications, Inc. v. ZTE Corp., CV 13–00009–RGA, 13–00010–RGA, WL

1620733, *6 (D. Del. Apr. 22, 2014) (construing “configured to communicate” to require an

automatic communication based on the summary of the invention stating that the patented

invention solved a problem of manual selection and rejecting patentee's broad proposed

construction of operable/arranged to transmit and/or receive data).

       These findings are consistent with similar findings by the Federal Circuit. For example, in

In re Man Machine, 822 F.3d 1282 (Fed. Cir. 2016), the Federal Circuit found “designed to,”

“configured to,” and “made to” as interchangeable. Id. at 1286 (also finding the term “capable of”

to be broader) Similarly, in In re Man Machine, the Federal Circuit again found “configured to”

interchangeable with “designed to” with both being a replacement for adapted to, in view of the

claims and specification. Id. at 1286-1287.




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       Ultravision relies on Aspex Eyewear Inc. v. Marchon Eyewear, Inc., 672 F.3d 1335 (Fed.

Cir. 2012) to suggest otherwise, but Ultravision’s characterization of Aspex Eyewear is incorrect.

In Aspex Eyewear, the court noted that “[i]n common parlance, the phrase “adapted to” is

frequently used to mean “made to,” “designed to,” or “configured to,” but it can also be used in a

broader sense to mean “capable of” or “suitable for.” Id. at 1349. In other words, the court

distinguished “designed to” and “configured to,” which have a similar meaning to each other and

“capable of” and “suitable for,” which have a broader meaning.          As explained above, the

specification and claims draw the same distinction because they interchangeably use “designed

to,” or “configured to” and distinguish between “configured to” and “capable of.”

               3.      Ultravision’s Reply Position

       Acuity’s proposed construction represents a continuation of its subsidiaries’ attempts to

inject a minimum size requirement to the terms “area” and “display surface” through the term

“configured to.” In the Texas Action, experts for Acuity’s subsidiaries read light spillage

limitations15 into the term “configured [to/so]” to argue that display/area size and light fixture

distances had to match certain Acuity instruction manuals to infringe. Acuity’s subsidiaries relied

on these arguments to critique Dr. Coleman’s representative testing on a 5x11 ft. Junior Poster

billboard – not, a “cherry picked rectangle,” as Acuity suggests. Response at 51. Ultravision seeks

to construe “configured to/so” consistent with its usage in the Asserted Claims, to avoid further

arguments for minimum size and distance requirements based on the alleged intent of Acuity’s

instruction manuals.




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  For example, the limitation of Claim 7 of the ’410 Patent, reciting “wherein areas beyond edges
of the display surface receive substantially no illumination.”
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       Acuity fails to explain the patentee’s distinct usage of the terms “configured to” and

“designed for” in the Asserted Claims, which suggests a broader meaning of the term “configured

to,” such as in claim 1 of the ’946 Patent.

       Acuity’s Response also acknowledges that “‘configured to’ is interchangeable with

‘designed.’” Response at 51-52. Accordingly, Acuity’s attempt to narrow the meaning of

“configured to” to an area and light fixture distance based on its instruction manuals should be

rejected.

               4.      Acuity’s Sur-Reply Position

       “Configured to” has routinely been construed to mean “designed to” and to be narrower

than “capable of.” See Response at 53-54. Ultravision’s Reply does not dispute nor distinguish

Acuity’s case law support for its construction; such construction also being consistent with the

intrinsic record and the plain and ordinary meaning of the term.

       Ultravision’s Reply argument, instead, reverts back to its expert’s contrived infringement

in the Texas Action. There, Ultravision also accused defendants of reading in limitations. But

Ultravision really is trying to eviscerate the uniformity limitations of the claims so that they can

ensnare all manners of outdoor lighting. This issue can be framed in the following rhetorical

question: Is a car headlight configured to illuminate an envelope? The answer is unquestionably

no, but according to Ultravision’s logic the answer would be yes. Although a headlight projects a

wide illumination pattern to assist a driver with seeing the road, Ultravision’s argument is akin to

saying the headlight is capable of projecting uniform illumination over a 10-inch-by-5-inch

envelope in the middle of the pattern, even though that clearly is not what the headlight was

configured to do.




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       G.      Term 7: “[optics panel is configured to be attached to] a heat sink
               comprising a power supply enclosure disposed on the heat sink” / “heat sink”

            Term                 Ultravision’s Proposal                 Acuity’s Proposal
  “[optics panel is          “structure that aids in the        “[optics panel is configured to
  configured to be           dissipation of heat”               be attached to] a structure for
  attached to] a heat sink                                      increasing heat dissipation from
  comprising a power                                            the optics panel on which a
  supply enclosure           Heat sink term: plain and
                                                                power supply enclosure is
  disposed on the heat       ordinary meaning
                                                                placed or arranged”
  sink” / “heat sink”
                                                                Or

                                                                Indefinite

               1.      Ultravision’s Opening Position

       This claim phrase appears in the context of the optics panel being “configured to be

attached to a heat sink comprising a power supply enclosure disposed on the heat sink.”

Defendants attempt to define “heat sink” as “a structure for increasing heat dissipation from the

optics panel,” and attempt to define “comprising a power supply enclosure disposed on the heat

sink” as “on which a power supply enclosure is placed or arranged.” Because the claim does not

specifically require the heat sink to dissipate heat from the optics panel, and because it is

reasonably clear to a POSITA that the claim requires that the heat sink form an enclosure for the

power supply, which is disposed on the heat sink, this re-writing of the claim should be rejected.

The Texas Court rejected Acuity’s proposed construction, and Ultravision submits that this Court

should reject Acuity’s proposal for the same reasons. Ex. 6 at 37-41.

       First, regarding the term “heat sink,” Acuity’s proposal ignores that a heat sink may

dissipate heat from sources other than the optics panel. For example, the heat sink may dissipate

heat from the power supply that is disposed on or within it. Ex. 1, 7:12-16; see also Ex. 7 at ¶ 45.

There is no dispute that the heatsink in the embodiments of the patents dissipate heat from the


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heat-generating elements of the panels: the LED’s and the power supply. Defendants have

identified no need to specify in this construction which components have their heat dissipated by

the heat sink, except to manufacture a non-infringement argument. Since Acuity’s construction

seeks only to introduce an ambiguity and not to clarify claim scope for the jury, its construction

should be rejected, and “heat sink” should be construed as a “structure that aids in the dissipation

of heat.”

        Second, the term “comprising a power

supply enclosure disposed on the heat sink” need

not be construed because it would be reasonably

clear to one of ordinary skill in the art that it refers

to a heat sink which itself forms an enclosure for the

power supply that is disposed on the heat sink. Two

figures from the specification are informative.

Figure 3B discloses that the back surface of the light panel 304 may comprise a heat sink provided

by fins 322 (Ex. 1, 3:64-67), and Figure 6C discloses a power supply enclosure 610 mounted to

the heat sink. A person of ordinary skill in the art would readily understand that power supply

enclosure 610 is part of the heat sink, particularly in view of the specification’s teaching that

“separating the power supply from the back panel 602,” i.e. by mounting it to enclosure 610

instead, “may aid in heat dissipation by the back panel 602 as it does not have to dissipate heat

from the power supply to the same extent as if the power supply was mounted directly to the back

panel. Ex. 1, 7:12-16; see also Ex. 7 at ¶ 44. Because this phrase is readily understandable to the

person of ordinary skill in the art, it is not indefinite, and need not be construed.




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        Accordingly, “heat sink” should be construed as “structure that aids in the dissipation of

heat,” and the remainder of this term need not be construed.

                2.      Acuity’s Answering Position

        Claim 11 of the ’410 and ’413 Patents claims a heat sink that comprises itself and a power

supply enclosure disposed on the heat sink. On its own, this phrase would not be reasonably certain

to a skilled artisan because it requires: (i) a heat sink that comprises itself and (ii) a heat generator,

i.e., the power supply enclosure, disposed on it. To resolve the inherent ambiguity, Acuity

proposes a construction that makes clear that the heat sink, which the claim requires be attached

to the optics panel (another heat generator), dissipates heat from the optics panel. In fact, that

patent specification makes clear using similar language that the heat sink dissipates heat from the

optics panel and that the power supply enclosure is placed away from the optics panel so as to aid

the dissipation of heat from the optics panel.

        For context, the ’410 and ’413 Patents identify heat dissipation as a problem with prior art

“LEDs in an exterior lighting environment.” ’410 Patent at 2:65-67. The ’410 and ’413 Patents

first propose to solve that problem by attaching a back panel (or back surface) with an increased

surface area to a panel of LEDs so as to dissipate heat. ’410 Patent at 3:18-21, 3:64-4:3. In other

words, the back panel with increased surface area will be a heat sink. The ’410 and ’413 Patents

further propose to solve that problem by “separating the power supply from the back panel,” to

“aid in heat dissipation by the back panel as it does not have to dissipate heat from the power

supply to the same extent.” ’410 Patent at 7:12-16. As described in the specification,

        The lighting assembly 600 is also illustrated with a mounting plate 606 that couples
        to the back panel 602 and to an adjustable mounting bracket 608. . . . A power
        supply enclosure 610 may be coupled to the mounting plate 606 and configured
        contain a power supply (not shown) capable of supplying power to LEDs of the
        LED assemblies 800. It is noted that separating the power supply from the back
        panel 602 may aid in heat dissipation by the back panel 602 as it does not have to


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          dissipate heat from the power supply to the same extent as if the power supply was
          mounted directly to the back panel 602.

’410 Patent at 7:4-16.      This configuration is depicted in Figure 6C, which is the claimed

embodiment, as Ultravision concedes on page 57 of its Opening Brief. Op. Br. at 57. A skilled

artisan would unmistakably understand that the heat sink of Figure 6C is dissipating heat from the

LEDs of the optics panel to which it is attached, just as claimed. Likewise, a skilled artisan would

understand that the power supply enclosure is disposed on the lower portion of the heat sink of

Figure 6C, as claimed and as Dr. Coleman agrees. Ex. A, Coleman Depo. at 74:4-75:7, 80:16-25.

In other words, the Figure 6C embodiment is consistent with the claim limitation, as construed by

Defendant and analyzed by Dr. Coleman.16

          Despite the apparent agreement between Defendant and Ultravision’s experts, Ultravision

argues that this limitation should not be construed to require that the heat sink dissipates heat from

the optics panel. Ultravision’s motivation is clear once again – its infringement theory is premised

on the heat sink limitation being satisfied by random metal adjacent to the power supply, but that

may be distant from the optics panel. In other words, Ultravision’s application of the “plain and

ordinary meaning” of this limitation is that all of the components of a lighting assembly are

“attached” to the optics panel, even if they are not directly attached to each other, and that the heat

sink need not dissipate heat from the optics panel, that includes LEDs.

          Not only is Ultravision’s application of the claim divorced from the specification and the

rest of the claim, it leaves open the question of how can a “heat sink” comprise (i.e., include) an

element (e.g., a power supply enclosure which is a heat generator) and still be characterized as a

heat sink? Ex. C, Josefowicz Decl. at ¶ 61 (a skilled artisan would understand that there are two


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     In contrast, Figure 3B is not a claimed embodiment because, as Dr. Coleman confirmed, Figure
     3B does not include a heat sink that includes a “power supply enclosure.” Ex. A, Coleman Depo.
     at 81:23-82:1.
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primary sources of heat during the operation of a LED luminaire. One source is the power supply

. . . .). Acuity’s construction resolves the parties’ O2 Micro dispute and clarifies the uncertainty

that would exist in the absence of a construction, thereby, rending the claims indefinite. See

O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1360-1361 (Fed. Cir.

2008) (“A determination that a claim term ‘needs no construction’ or has the ‘plain and ordinary

meaning’ may be inadequate when a term has more than one ‘ordinary’ meaning or when reliance

on the term's ‘ordinary’ meaning does not resolve the parties' dispute.”).

                3.      Ultravision’s Reply Position

        The parties agree that a heat sink is a structure that aids in the dissipation of heat. The only

issues in dispute are whether “a heat sink comprising a power supply enclosure disposed on the

heat sink:” (1) requires that a heat sink also comprise a power supply enclosure (it does); (2)

requires that heat be dissipated “from the optics panel” (it does not); and (3) is indefinite (it is not).

        First, a POSITA would be reasonably certain that this term requires that a heat sink itself

comprise the power supply enclosure based on its plain language. Acuity acknowledges that “[o]n

its own” this term requires a heat sink that comprises itself, and “the power supply enclosure,

disposed on it.” Response at 58-60. Rather than seeking to clarify this meaning, Acuity attempts

to change it by removing the “power supply enclosure” from the scope of the “heat sink.” Acuity

justifies this improper broadening by arguing that the power supply enclosure (as opposed to the

power supply) is a heat generator and arguing that a heat sink cannot include a “heat generator.”

Response at 58-60. Acuity cannot support either proposition nor can it explain why a POSITA

would fail to recognize scope of a claim term that is apparent to Acuity “[o]n its own.” To the

contrary, a power supply enclosure does not generate heat because it is simply a structure (e.g. a

metal box) enclosing a power supply. Under Acuity’s logic, the entire heat sink would “generate”

heat from the power supply and LEDs.
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       Second, Acuity’s requirement that the heat sink “increase heat dissipation from the optics

panel” is unnecessary and unsupported. Acuity does not appear to dispute that a heat sink may

dissipate heat from other sources, such as the power supply. To rewrite the claim with a required

heat source only introduces ambiguity, and risks confusing a jury into requiring that the optics

panel be the only heat source.

       Finally, this term is not indefinite simply because it requires that a heat sink comprise both

(i) itself and (ii) a power supply enclosure. While redundant, the requirement that a heat sink

comprise itself does not render the claim ambiguous. Acuity recognizes that the term includes

these elements “on its own,” and a POSITA would arrive at the same conclusion.

               4.      Acuity’s Sur-Reply Position

       The power supply enclosure encloses the heat generating power supply. For that reason,

Figure 6C and the specification make clear that the power supply enclosure should be distanced

from the heat sink that dissipates heat from the optics panel, which also generates heat: “[a] power

supply enclosure 610 may be coupled to the mounting plate 606 and configured contain a power

supply (not shown) capable of supplying power to LEDs of the LED assemblies 800. It is noted

that separating the power supply from the back panel 602 may aid in heat dissipation by the back

panel 602 as it does not have to dissipate heat from the power supply to the same extent as if the

power supply was mounted directly to the back panel 602.” ’410 Patent at 7:9-16. In other words,

the specification is consistent with the plain language of the claims and both make clear that the

heat sink dissipates heat from the optics panel. Acuity’s construction is consistent with that plain

meaning; Ultravision’s is not.




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      H.      Term 8: 3:1 Ratio Limitations

          Term                  Ultravision’s Proposal          Acuity’s Proposal
 3:1 Ratio Limitations:     “achieves 3:1”               Plain and ordinary meaning
                                                         (i.e., “is 3:1” means has a ratio
 “[average illumination                                  of 3:1)
 to minimum
 illumination uniformity
 ratio] is 3:1” /

 “[a ratio of the average
 illumination from that
 LED across the entire
 display surface to the
 minimum illumination
 from that LED at any
 point on the display
 surface] is 3:1” /

 “[a ratio of the average
 illumination from each
 of the LEDs across the
 entire display surface
 to the minimum
 illumination at any
 point on the display
 surface from each of
 the LEDs] is 3:1.” /

 “[a ratio of the average
 illumination from that
 LED across the entire
 display surface to the
 minimum illumination
 from that LED at any
 point on the display
 surface] is 3:1” /

 “[ratio of the average
 illumination from each
 LED across the entire
 display surface to the
 minimum illumination
 from that LED at any
 point on the display
 surface] [[to]] is 3:1”


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                1.     Ultravision’s Opening Position

       This claim term appears in exemplary claim 14 of the ’410 Patent, which recites an optics

panel “wherein the light from each lens is directed across the entire display surface of the billboard

so that, for each LED, a ratio of the average illumination from that LED across the entire display

surface to the minimum illumination from that LED at any point on the display surface is 3:1.” Ex.

1 at 9:31-36.

       In the context of the claims and specification, a person of ordinary skill in the art would

understand the term “is 3:1” to mean “achieves 3:1,” including ratios which are better (i.e. more

uniform) than 3:1. This is clear from the specification of the ’410 Patent where “evenly” is

described as “illumination with a uniformity that achieves a 3:1 ratio of the average to minimum.”

(5:14-16, emphasis added). This usage is consistent with the plain and ordinary meaning of

uniformity ratios in the industry, where a person of ordinary skill in the art would understand that

“[u]niformity ratios are targets that define the widest recommended ranges” and include the range

of uniformities that achieve that target. Ex. 7 at ¶ 51 (citing Lighting Handbook, Ex. 11 at Section

26.3.4).

       Accordingly, the term “is 3:1” should be construed as “achieves 3:1,” consistent with the

specification and customary usage of uniformity ratios in industry.

                2.     Acuity’s Answering Position

       The claims of the Patents-in-Suit separately use the phrases “is 3:1” (see, e.g., ’410 Patent

at cls. 5, 14 and 20) and “achieves at most a 3:1” (see, e.g., ’248 Patent, claims 1, 10, 11, 17) to

describe the claimed ratio of average to minimum illumination. Unlike other terms that are used

interchangeably, there is no indication that these terms are intended to be used interchangeably,

and the words “is” and “achieves” are not generally understood to be interchangeable.



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        Yet, Ultravision seeks to rewrite and broaden the claim that use the phrase ratio “is 3:1” to

mean any ratio of average to minimum illumination that is 3:1 or less, i.e., achieves 3:1. Whereas

here, the applicant distinguished the two claimed ratios by using different language, i.e., is versus

achieves, a skilled artisan would understand that these terms have different meanings, both of

which are well understood and not in need of additional construction. It is a “common sense notion

that different words or phrases used in separate claims are presumed to indicate that the claims

have different meanings and scope.” Karlin Tech. Inc. v. Surgical Dynamics, Inc., 177 F.3d 968,

971–72 (Fed. Cir. 1999). “To the extent that the absence of such difference in meaning and scope

would make a claim superfluous, the doctrine of claim differentiation states the presumption that

the difference between claims is significant.” Tandon Corp. v. U.S. Int'l Trade Comm'n, 831 F.2d

1017, 1023 (Fed. Cir. 1987). Finally, Ultravision’s reliance on the opinions of its expert should

be discounted because Dr. Coleman at his deposition could not explain why his expressed opinion

did not account for the claims that state “achieves at most a 3:1” other than that was not the analysis

he was asked to perform. (Ex. A, Coleman Depo. at 96:3-25).

                3.      Ultravision’s Reply Position

        Acuity’s own expert acknowledges that illumination ratios denote targets, which a light

fixture may “achieve” by surpassing: “[t]he use of ratios like three to one [] which is commonly

used maximum to minimum . . . is a target for luminaire manufacturers to be within, but for

different applications that’s all it is, it’s just a target.” Ex. 24 at 86:12-18 (emphasis added). A

POSITA would understand the illumination ratios used in the patent claims to be targets that are

satisfied by better (i.e. lower) ratios.

        The use of the term “at most 3:1” in the later-filed ’248 Patent cannot alter the well

understood meaning of the term “is 3:1” as used throughout the other Asserted Patents.

Illumination ratios are well-understood to refer to targets, and the Asserted Patents discuss
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“achieving” an illumination ratio consistent with that meaning. While a POSITA may understand

the usage of “at most 3:1” in the ’248 Patent to clarify the scope of the claims to a lay person, that

would not alter the well-established meaning of target ratios used in the other patents.

               4.      Acuity’s Sur-Reply Position

       “Is” and “at most” are two different terms with two different plain and ordinary meanings.

“Is” is not ambiguous as used in the claims and its usage in the claims is consistent with the

intrinsic record. Thus a construction is not necessary. And even if a construction were appropriate

(it is not), Ultravision fails to explain why a skilled artisan would understand “is 3:1” to mean “at

most 3:1”, when the applicants used these terms distinctly in the claims of the Patents-in-Suit.

Accordingly, there is no basis to construe “is” to mean “at most.”

       To support its illogical construction, Ultravision relies on a mischaracterization of Acuity’s

expert’s deposition testimony related to IES specifications and not the intrinsic record. Rep. Br.

at 65; Ex. 24 at 86:6-10 (“In IES specifications for a variety of different applications includes

signage or street lights or other applications, there is guidance and the guidance is meant to provide

a target for lighting related to uniformity.”). Indeed, Acuity’s expert was not discussing whether

“is 3:1” as used in the claims should mean something else.

       I.      Term 9: “optics panel”

           Term                   Ultravision’s Proposal                Acuity’s Proposal
  “optics panel”             Plain and ordinary meaning,         “one or more panels of lenses”
                             where the plain and ordinary
                             meaning is “a panel containing
                             at least one optical substrate”

               1.      Ultravision’s Opening Position

       The ’410 and ’413 Patents claim a system called an “optics panel” in each apparatus claim

at issue. Acuity seeks to construe this term as “one or more panels of lenses,” but this construction


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should be rejected because it is inconsistent with claim language reciting “a plurality of lenses”

(not a “panel of lenses”) because it creates ambiguity by redundantly reciting elements addressed

in other limitations, and because it is unsupported by any lexicography or disclaimer. Instead, this

term should be afforded its plain and ordinary meaning which, to the extent any construction is

needed, is “a panel containing at least one optical substrate or lens.”

       First, Acuity’s proposal is improper because it adds unclaimed limitations into the term

“optics panel,” thereby reading embodiments without a “panel of lenses” out of certain claims.

Embodiments of “lens panel,” such as lens panel 500 depicted below, are described in some claims

as a “substrate comprising a plurality of optical elements.” Compare ’410 Patent, Claim 1 with id.

at 4:43-57.

        But this recitation contrasts with claim 10 of the ’410 Patent which instead recites “[a]n

optics panel . . . comprising . . . a plurality of lenses, wherein each lens is disposed over only one

associated LED.” Claim 10 does not include a requirement that every lens be part of the same

“panel” (e.g. a substrate). Figures 8D-I are instructive, as they depict separate optical elements 806

(e.g. lenses) which may be disposed over an associated LED. Moreover, the specification

explicitly teaches that “[m]ultiple optical elements 806 may be combined and formed as a single

optics panel 604. . .” Acuity’s proposal should be rejected because it would improperly limit the

scope of this claim in the absence of lexicography or disclaimer, and would read embodiments

depicted in Figure 8 out of the claims. See Superguide Corp. v. DirecTV Enters., Inc., 358 F.3d

870, 875 (Fed. Cir. 2004) (“a particular embodiment appearing in the written description may not

be read into a claim when the claim language is broader than the embodiment.”)

         Second, Acuity’s proposal should be rejected because it is redundant and needlessly adds

ambiguity to the claims at issue. Each claim already includes limitations specific to a required



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arrangement of optics comprised by an optics panel of a lighting assembly. See e.g., ’410 Patent,

Claim 1 (“a substantially transparent substrate comprising a plurality of optical elements disposed

over the plurality of LEDs. . .”); id., Claim 10 (“a plurality of lenses, wherein each lens is disposed

over only one associated LED.”). Adding the term “panels of lenses” is improperly superfluous

and would only lead to confusion given overlap with those existing limitations. See Digital-

Vending Servs. Int’l, LLC v. Univ. of Phoenix, Inc., 672 F.3d 1270, 1275 (Fed. Cir. 2012) (“This

construction is thus contrary to the well-established rule that ‘claims are interpreted with an eye

toward giving effect to all terms in the claim.’”).

       Thus, “optics panel” should be afforded its plain and ordinary meaning. To the extent any

articulation of the plain and ordinary meaning is necessary that should be construed as “a panel

containing at least one optical substrate or lens,” consistent with the usage of the term in the

Asserted Patents.

               2.      Acuity’s Answering Position

       Every claim implicated by this dispute requires an optics panel that includes “a plurality of

optical elements” or a “plurality of lenses.” Given this plain language of the claims, Ultravision’s

proposed construction of optics panel to require only “at least one optical substrate or lens” does

not capture the minimum scope of the claims and only can serve to confuse, if not mislead, the

jury. Moreover, Ultravision’s proposed construction is wrong, in view of the specification.

       In the specification, the applicant identified the optics panel as one or more lens panels:

       ’410 Patent at 4:43-49:

       “Referring to FIGS. 5A, 5B, 5C and 5D, one embodiment of a single lens panel 500
       of the optics panel 206 is illustrated. In the present example, the optics panel 206
       may include multiple lens panels 500, although it is understood that any number
       of lens panels may be used based on design issues such as the number,
       arrangement, and orientation of the LEDs 416, the size of the surface 102, and/or
       other factors.”


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       Id. at 6:55-64:

       The lighting assembly 600 includes a back panel 602, a light panel formed by
       multiple LED assemblies (denoted by reference number 800 in FIG. 8A), and an
       optics panel formed by multiple lens panels 604. Accordingly, as described
       previously, the light panel 204 in the current example is represented by multiple
       LED assemblies 800 and the optics panel 206 is represented by multiple lens
       panels 604. In the present embodiment, the lighting assembly 600 includes four
       LED assemblies 800 and four lens panels 604.

(Emphasis added). Acuity’s proposed construction is consistent with these statements defining an

“optics panel” (i.e., one or more panels of lenses).

       It likewise is consistent with the specification’s discussion of the optics panel in the context

of Figures 8A-8J. First, as the claims make clear, they require a plurality of lenses and not a single

lens depicted in Figures 8A-8J, as Ultravision suggests in its Opening Brief at 66. Op. Br. at 66.

Second, the specification describes the “single optics panel 604” depicted in Figures 8A, 8B and

8C as also being “single lens panel 604”: “[w]ith additional reference to FIGS. 8A-8J,

embodiments of a single LED assembly 800 and a single lens panel 604 that may be used with

the lighting assembly 600 are illustrated. As shown, the single LED assembly 800 and the single

optics panel 604 may be configured for use together.” ’410 Patent at 7:52-54. In other words,

when the optics panel is made up of a single lens panel, the two are the same, as reflected in

Acuity’s use of the phrase one or more panels.

       Furthermore, none of the embodiments in the Asserted Patent describe or depict a lens

panel 500 having only one “optical element” (i.e., lens). What the common specification does

describe is that the physical arrangement of “multiple optical elements 514” to LEDs may

vary. ’410 Patent at 4:64-5:3 (“A single optical element 514 may be provided for each LED 416,

a single optical element 514 may be provided for multiple LEDs 416, and/or multiple optical

elements 514 may be provided for a single LED 416”).             But none of these embodiments

contemplate that a lens panel may have only one lens.
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       Ultravision’s remaining argument is that Claim 10 of the ’410 Patent does not include a

requirement that every lens be part of the same “panel.” Op. Br. at 66-67. The parties have already

agreed that the preamble is limiting and, consequently, the preamble of Claim 10, which describes

“the optics panel comprising:” simply refers to a single lens panel with “a plurality of lenses” that

is both consistent with the claim language and Acuity’s proposed construction. Acuity’s proposed

construction embodies the proposition that an “optics panel” may have a “single lens panel” which

is consistent with the common specification. 4:43-57 (“Referring to FIGS. 5A, 5B, 5C and 5D,

one embodiment of a single lens panel 500 of the optics panel 206 is illustrated.”).             The

specification makes clear that a “lighting assembly 200 includes a back panel 202, a light

panel 204 (e.g., a printed circuit board (PCB)) having a plurality of LEDs (not shown) mounted

thereon, and an optics panel 206.” ’410 Patent at 3:12-15. Ultravision’s argument related to the

patentee’s choice to use the term “optics panel” in the preamble to describe a structural element

comprising a “plurality of lenses” is irrelevant because Acuity’s proposed construction is

consistent and not at odds with the claim limitations.

               3.      Ultravision’s Reply Position

       The Asserted Claims recite an “optics panel” which may comprise lenses disposed over a

plurality of LEDs, without any reference to a “panel” or “substrate” of lenses. See Brief at 65-66.

There is no lexicography or disclaimer supporting Acuity’s requirement that each lens must be

part of a panel with multiple lenses.

       Acuity acknowledges that its construction seeks to read the specification embodiment that

“the optics panel 206 may include multiple lens panels 500” into the claims. Response at 69.

Because Acuity fails to identify any lexicography or disclaimer to support its construction, its

attempt to limit the claims to specification embodiments must be rejected. See Liebel-Flarsheim,

358 F.3d at 906.
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       Acuity also argues that the singular “optics panel” recited in the preamble of claim 10

requires that its lenses be part of the same “panel,” but fails to address that the “optics panel” is

described as including multiple different panels or substrates. Instead, Acuity conflates

specification disclosure of the “optics panel 206” with the “lens panel 500” to argue that “‘the

optics panel comprising:’ simply refers to a single lens panel ‘with a plurality of lenses.’” Response

at 69. Acuity’s position is logically inconsistent. It cannot be that an “optics panel” normally

includes multiple different substrates (i.e. lens panels), but includes only one substrate when the

claim does not recite an optical substrate or lens panel at all. To give meaning to the patentee’s

decision to claim “a plurality of lenses” distinctly from a “substantially transparent substrate,” the

term “optics panel” should instead be read consistently to allow multiple substrates (including

substrates with only one lens). See Dig.-Vending Servs. Int’l, LLC v. Univ. of Phoenix, Inc., 672

F.3d 1270, 1275 (Fed. Cir. 2012). Accordingly, the term “optics panel” should be given its

ordinary meaning, i.e., “a panel containing at least one optical substrate or lens.”

               4.      Acuity’s Sur-Reply Position

       To repeat, every asserted claim that includes this term requires that the optics panel

comprise “a plurality of [optical elements or lenses].” Yet, Ultravision argues for a construction

of optics panel that requires only one lens. Why? This necessarily would confuse the jury and it

is inconsistent with the plain language of the claims. One can only guess why Ultravision is

proposing that the claimed optics panel contain only one lens. If the Court determines that this

claim needs to be construed pursuant to O2 Micro, it should adopt a construction that is consistent

with the claims and the intrinsic record, i.e., Acuity’s construction.




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        J.      Term 10: Optical Element/Lens to LED limitations

           Term                   Ultravision’s Proposal               Acuity’s Proposal
  Optical Element/Lens        Plain and ordinary meaning,       Plain and ordinary meaning
  to LED limitations:         where the plain and ordinary
                              meaning is “each [lens/optical
  “wherein each lens is       element/convex optical
  disposed over only one      element] is disposed on top of
  associated LED” /           one LED of the plurality of
                              LEDs”
  “each optical element
  disposed over only one
  associated LED” /

  “each optical element
  is disposed over only
  one associated LED” /

  “each optical element
  overlies only one
  associated LED” /

  “each optical element
  overlies only one
  associated LED” /

  “each convex optical
  element overlying an
  associated one of the
  LEDs” /

  “each optical element .
  . . overlies a respective
  one of the LEDs”


                1.      Ultravision’s Opening Position

        Ultravision agrees to Acuity’s proposed construction in order to narrow the dispute

before the Court.

                2.      Acuity’s Answering Position

        The parties identified in their list of ten terms for briefing and argument a group of terms

in the Asserted Claims that relate to each “optical element” or “lens” being positioned over “only

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one associated LED.” Ex. G, Joint Identification of Terms to Court at 2. Acuity proposed a plain

and ordinary meaning for the terms, and Ultravision proposed a construction that it contends allow

multiple uncounted LEDs to be positioned under the optical element or lens. Again, this claim

construction dispute came to light based on Ultravision accusing products in which each “optical

element” or “lens” is disposed over seven LEDs, not “only one associated LED” as required in

each of the Asserted Claims for these terms. See e.g., Ex. H, UV Infr. Cont. App. D-3 at 4-5. That

led to summary judgment briefing in the Texas action that was not resolved, and Ultravision was

on notice of the parties’ competing claim interpretations.

       There simply is only one reasonable claim interpretation for these terms because “only

one” can mean only one thing – a one-to-one relationship between the claimed lenses and the one

LED that is associated with the lens, i.e., disposed under it. In addition to being contrary to the

plain language of the claims, Ultravision’s interpretation is contrary to other claims in which the

patentee explicitly claimed a lens disposed over one or more LEDs or allowed for such an

interpretation. See, e.g., ’946 Patent at Claim 1 (“each convex optical element overlying an

associated one or more of the LEDs”); ’410 Patent Claim 15 (“the plurality of optical elements

disposed over the plurality of LEDs and configured to direct light from each of the plurality of

LEDs”, Claim 21 (“the plurality of optical elements disposed over the plurality of LEDs and

configured to direct light from each of the plurality of LEDs”). Likewise, to the extent Ultravision

argues that “comprising” permits an expanded plain and ordinary construction, this would be

inconsistent with claim construction principles. See KCJ Corp. v. Kinetic Concepts, Inc., 223

F.3d 1351, 1356 (Fed. Cir. 2000) (transitional phrase “comprising” means including but not

limited to.); Liberty Ammunition, Inc. v. United States, 835 F.3d 1388, 1399 (Fed. Cir. 2016)

(“our prior decisions have warned against using terms such as “comprising,” or “including,” as



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“weasel word[s] with which to abrogate claim limitations”) citing Dippin' Dots, Inc. v. Mosey,

476 F.3d 1337, 1343 (Fed. Cir. 2007) (quoting Spectrum Int'l, Inc. v. Sterilite Corp., 164 F.3d

1372, 1380 (Fed. Cir. 1998) (comprising may not alter the scope of recited claim elements).

       By dropping its claim construction argument and conceding to Acuity’s construction,

Acuity understands that Ultravision does not contend that these limitations encompass multiple

LEDs disposed under the optical element or lens. To the extent that Ultravision intends to re-raise

this issue in the future, Acuity contends that Ultravision waived its arguments by failing to brief

them here, particularly given that Acuity had to agree to drop other claim construction disputes to

allow for briefing on optical element/lens to LED limitations. Ex. G, Joint Identification of Terms.

               3.      Ultravision’s Reply Position

       The Parties agree that the plain and ordinary meaning of these terms applies.

               4.      Acuity’s Sur-Reply Position

       Acuity understands that Ultravision agrees with Acuity’s understanding that the limitations

can mean only one thing – a one-to-one relationship between the claimed lenses and the one LED

that is associated with the lens; i.e., disposed under it, as briefed at the Response, pp. 73.

Ultravision did not identify any disagreement with Acuity’s argument, despite Ultravision’s

infringement contentions reflecting that there are multiple LEDs under some of the accused lenses.

See e.g., Ex. H, UV Infr. Cont. App. D-3 at 4-5. Nevertheless, Acuity understands that Ultravision

is waiving that infringement argument, as reflected in its claim construction Reply.




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                                       Respectfully submitted,

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